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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

CAROL McNEELY,                      )
                                    )
On behalf of herself and all others )
similarly situated,                 )                 Civil No.
                                    )
        Plaintiff,                  )
                                    )
v.                                  )                 CLASS ACTION
                                    )
METROPOLITAN LIFE INSURANCE         )
COMPANY, METROPOLITAN LIFE          )
RETIREMENT PLAN FOR UNITED          )
STATES EMPLOYEES, METLIFE           )
OPTIONS & CHOICES PLAN, and         )
WELFARE BENEFIT PLAN FOR            )
EMPLOYEES OF METROPOLITAN LIFE,)
                                    )
        Defendants.                 )
                                    )


                                      I. INTRODUCTION

       1.       Since at least 2002, Metropolitan Life Insurance Company (“MetLife”) has hired

licensed dentists to act as consultants evaluating claims for benefits submitted by policyholders,

participants, and beneficiaries in employee benefit plans (“Dental Consultants”). MetLife has

compensated these Dental Consultants as independent contractors even though, at least until

November 2017, it determined and controlled all aspects of the performance of their duties to an

extent that makes them employees, not independent contractors. MetLife also has engaged other

health professionals, including upon information and belief, physicians, chiropractors,

psychologists, nurses, and hygienists, to evaluate claims for benefits. Upon information and

belief, MetLife has paid these health professionals as independent contractors but, at least until

November 2017, exerted levels of control over the performance of their duties that were similar

to the controls placed on Dental Consultants. In this complaint, the term “Health Consultants”
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shall refer to Dental Consultants and other health professionals, if any, hired by MetLife to

evaluate the claims of policyholders, participants and beneficiaries whom MetLife compensated

for their work as independent contractors rather than as employees.

       2.       Until November 2017, MetLife’s form written agreements for Dental Consultants

did not specify whether they were employees or independent contractors, but the terms and

conditions were consistent with employee than independent contractor status. These agreements

gave MetLife the right to exercise control over Dental Consultants’ means, sequence and

methods of performing work. At least until November 2017, MetLife also exercised control over

the work of the Dental Consultants as if they were employees. Among other actions, MetLife

dictated Dental Consultants’ maximum hours of work, required them to work at MetLife’s

offices, and required them to record their hours of work on forms issued by MetLife. MetLife

required them to use computer hardware and software that it has provided to them and owned by

MetLife. The company services and updates that hardware and software free of charge to the

Dental Consultants. The company also provided Dental Consultants the files that they review,

imposed detailed, comprehensive guidelines about how to perform that work, trained them,

supervised their work through its managers, created standards by which to assess the quality and

quantity of their performance, and assessed their performance under those standards. For these

and other reasons set out below, Plaintiff Carol McNeely, Dental Consultants, and (upon

information and belief) the other Health Consultants were employees of MetLife, not

independent contractors at least until November 2017.

       3.       Since November 2017, MetLife’s essential controls over the means and manner

by which Dental Consultants and (upon information and belief) the other Health Consultants

have remained, while MetLife has relinquished other, less essential controls.



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       4.       While MetLife’s control over Dental Consultants and other Health Consultants

made them common law employees at least until November 2017, MetLife has compensated

Dental Consultants and the other Health Consultants as independent contractors, not as

employees. As a result, the Health Consultants have not received any of the protections and

benefits accorded to employees under federal and state laws even though they have been, in fact,

employees of MetLife.

       5.       MetLife’s failure to compensate Health Consultants as employees benefitted it

and cost these consultants monetarily in four ways. First, MetLife has not paid Ms. McNeely

and other Health Consultants overtime pay when they work more than forty hours in a week.

Overtime pay was required because MetLife has not paid Health Consultants on a salary basis,

which is necessary under both the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 213, and the

wage and hour laws of the States in which they worked in order for employees to qualify as

exempt, except under limited circumstances not applicable here. Instead MetLife has paid them

based on the number of hours worked times a contracted rate per hour, and has ignored the

requirement to pay overtime for non-exempt workers. MetLife’s failure to pay Health

Consultants overtime despite not paying them on a salary basis has violated both federal and

state wage and hour laws.

       6.       Second, MetLife has paid Dental Consultants, and upon information and belief all

Health Consultants on a monthly basis, whereas the laws of the State of Illinois (the State in

which Ms. McNeely worked) and other States in which Health Consultants worked, such as New

York and New Jersey, has required it to pay non-exempt employees no less frequently than bi-

weekly. MetLife thus had the use of the money it owed Health Consultants for several extra

weeks each month, and deprived them of the use of that money.



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       7.       Third, MetLife has offered employees a valuable set of employee benefits,

including but not limited to a variety of largely employer-paid insurance plans and a defined

benefit pension plan (together the “Defendant Plans”). Health Consultants have not received,

and have never been informed of, these benefits. Upon information and belief, some or all of the

Defendant Plans are open to all MetLife employees or all full-time MetLife employees, which

included some or all of the Health Consultants. The failure to allow eligible Health Consultants

to participate in the Defendant Plans, or even to inform eligible Health Consultants of their right

to participate in these plans, has saved MetLife and deprived these consultants of substantial

compensation in the form of employee benefits and violated the Employee Retirement Income

Security Act (“ERISA”), 29 U.S.C. § 1001 et seq.

       8.       Finally, MetLife has not met its obligation to pay the employer share of FICA

taxes (generally equal to 7.65% of employee pay), and instead shifted that burden onto Health

Consultants, by characterizing them as independent contractors rather than employees. MetLife

has been unjustly enriched by the amount of FICA taxes that it has shifted onto the backs of the

Health Consultants.

       9.       Ms. McNeely brings: a proposed collective action under the FLSA on behalf of

all Health Consultants who worked for MetLife at any time during the three years between the

filing of the Complaint and October 31, 2017; a proposed class action on behalf of all Health

Consultants who worked for MetLife at any time during the six years between the filing of the

Complaint and October 31, 2017 to litigate the ERISA claims; and proposed class actions to

litigate the claims for violations of Illinois statutes and common law on behalf of the Health

Consultants who worked at any time within the applicable limitations periods in the State of

Illinois and October 31, 2017. If Health Consultants who join the case have worked in other



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States and would be adequate representatives, it is anticipated that similar proposed classes,

based on State law claims, would be added on behalf of Health Consultants who have worked in

some or all of those States. And if Health Consultants who join the case have worked for

MetLife after October 31, 2017 and would be adequate representatives, Plaintiffs may seek leave

to amend the collective and class action definitions to encompass Health Consultants who

worked for MetLife after October 31, 2017.

                               II. JURISDICTION AND VENUE.

        10.     The jurisdiction of this Court over the claims under federal law is invoked

pursuant to 28 U.S.C. § 1331, which confers original jurisdiction upon this Court in a civil action

arising under the Constitution or laws of the United States, and pursuant to 28 U.S.C. § 1337,

which confers original jurisdiction upon this court in a civil action arising under any Act of

Congress regulating commerce.

        11.     The jurisdiction of this Court over the claims under state laws is invoked pursuant

to 28 U.S.C. § 1367(a), which confers supplemental jurisdiction upon this Court over claims

“that are so related to claims in the action within [its] original jurisdiction that they for part of the

same case or controversy . . . .”

        12.     Venue is proper in this Court under 28 U.S.C. § 1391 because MetLife and the

Plan Defendants reside in this judicial district and because a substantial part of the events or

omissions giving rise to the claim occurred in this judicial district. Venue also is proper in this

Court as to the ERISA claims under 29 U.S.C. § 1132(e)(2) because, for such claims, venue is

proper where the plans are administered, a fiduciary breach occurred, the defendant resides, or

the defendant may be found.




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                                          III. PARTIES

        13.    Plaintiff Carol McNeely resides in Chicago, Illinois and worked for MetLife at its

offices in Aurora, Illinois as a Dental Consultant from 2002 until November 2017. Throughout

that time and to the present, she has held all necessary licenses and certifications to practice as a

dentist in the State of Illinois. Attached as Exhibit A is the Consent to Join signed by Ms.

McNeely.

        14.    Metropolitan Life Insurance Company (“MetLife”) is a subsidiary of the holding

company MetLife, Inc., which de-mutualized and became a stock company in 2000. MetLife is

domiciled and has its principal place of business in New York, New York. Among other

products, MetLife sells, services, and pays claims on dental, life, disability, vision, and accident

and health insurance policies.

        15.    MetLife is sued not only as the employer of Ms. McNeely and the other Health

Consultants, but also as the administrator, and therefore the fiduciary, of the three employee

benefit plans identified in the next three paragraphs and of the sub-plans of those plans.

        16.    The Metropolitan Life Retirement Plan for United States Employees (the

“Defined Benefit Plan”) is an ERISA-covered defined benefit plan that provides pension, death,

and retiree-medical benefits to eligible employees. It is sued only with respect to the ERISA

denial of benefits claim. MetLife is the administrator and a fiduciary of the Defined Benefit

Plan.

        17.    The MetLife Options & Choices Plan (the “Primary Welfare Plan”) is an ERISA-

covered welfare plan that provides eligible active employees with medical and prescription drug

coverage and through various sub-plans provides them dental coverage, group-term life

insurance, short-term and long-term disability coverage, flexible spending accounts, work-life



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assistance coverage (employee assistance programs), and survivor benefit coverage. Sub-plans

of the Welfare Plan also provide medical, dental, and survivor benefit coverage to certain former

employees, and continuation of certain benefits upon the termination of medical coverage. The

Primary Welfare Plan is sued only with respect to the ERISA denial of benefits claim. MetLife

is the administrator and a fiduciary of the Primary Welfare Plan.

              18.            The Welfare Benefit Plan for Employees of Metropolitan Life (the “Secondary

Welfare Plan”) is an ERISA-covered welfare plan that provides eligible employees with life

insurance, critical illness insurance, and legal insurance. It is sued only with respect to the

ERISA denial of benefits claim. MetLife is the administrator and a fiduciary of the Secondary

Welfare Plan.

                              IV. METLIFE’S RELATIONSHIPS WITH MS. MCNEELY
                                     AND OTHER HEALTH CONSULTANTS

A.            MetLife Employed Numerous Health Consultants Throughout the United States

              19.            In a publication issued in 2015,1 MetLife stated that it had 101 Dental

Consultants. Ms. McNeely currently is aware of the identities of about 89 Dental Consultants as

of late 2017. These Dental Consultants were assigned to five offices: about 56 in Aurora,

Illinois; about 12 in Utica, New York; about 9 in Bridgewater, New Jersey; about 8 in Warwick,

Rhode Island; and about 4 in Irving, Texas.

              20.            The number of Dental Consultants whom MetLife employed was relatively

constant during the period from 2007 through 2017.

              21.            Regardless of location, and as discussed in more detail below, MetLife gave these

Dental Consultants the same or similar contracts, assigned them the same or similar job duties,

provided them the same or similar training, afforded them the same or similar resources, and

                                                            
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compensated them, denied them employee benefits, and failed to pay the employer share of

FICA taxes in the same manner.

       22.     MetLife also engages other Health Consultants with professional licenses and/or

certifications in numbers currently unknown to Ms. McNeely to analyze claims and perform

other work similar to that performed by Dental Consultants. These Health Consultants include

hygienists, doctors, chiropractors, psychologists, and nurses. For example, MetLife’s supervisor

of the Dental Consultants wrote an email to about 80 Dental Consultants dated December 1,

2017 stating in part, “We are looking to bring on additional dentists and hygienists to our team

and wanted to make you all aware in case you may know of anyone who may be interested in

consulting for MetLife.” (Emphasis added.) And the contract that went into effect November 1,

2017, which is discussed below, states in part, “Contractor warrants and represents that

Contractor, at all times during the term of this Agreement: a) holds all the necessary licenses and

certifications to practice as a dentist, physician, psychologist or chiropractor in a jurisdiction in

the United States.” (Emphasis added.)

       23.     Upon information and belief, MetLife gave Dental Consultants and other Health

Consultants the same or similar contracts, hired all Health Consultants to evaluate claims for

benefits, provided all Health Consultants training concerning evaluation of claims, afforded all

Health Consultants the resources with which to perform their duties, and compensated all Health

Consultants as independent contractors with monthly payments, no right to overtime, no right to

receive employee benefits, and the obligation to pay all FICA taxes.

B.     MetLife Gave All Health Consultants the Same or Similar Contracts Which, Until
       November 2017, Were Consistent with Them Being MetLife Employees.

       24.     Throughout the applicable liability periods, MetLife used standardized contracts

for all Dental Consultants each year. These contracts were not subject to negotiation, except


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possibly as to the hourly pay rates. All Dental Consultants received the same or similar

standardized contracts each year. All such contracts were for annual terms, although, as

discussed below, MetLife cancelled the 2017 standardized contract as of November 1, 2017 and

sent Dental Consultants via email a new form contract for the period from November 1, 2017

through October 31, 2018, rather than waiting for the 2017 contract to expire on December 31,

2017. The new proffered contract had to be signed by MetLife and a Dental Consultant for that

consultant’s employment to continue after October 30, 2017.

       25.      Attached as Exhibit B is the contract that Ms. McNeely signed in late 2016 for

calendar year 2017 (the “Prior Contract”). Her signed contracts for each of the prior ten years

were similar, although they varied in certain respects, such as her compensation rate per hour.

All of the other Dental Consultants signed contracts for each year through 2017 that were

substantially similar in language and terms as Exhibit B.

       26.      Upon information and belief, Health Consultants other than Dental Consultants

signed contracts for each year through 2017 that were substantially similar in language and terms

as Exhibit B.

       27.      Attached as Exhibit C is the contract that MetLife sent to Ms. McNeely via email

in October 2017 for the year from November 1, 2017 through October 31, 2018 (the “New

Contract”). Ms. McNeely chose not to sign Exhibit C and her employment with MetLife ended

on October 31, 2017.

       28.      Upon information and belief, all of the other Health Consultants received

standardized contracts similar to Exhibit C at some time prior to November 1, 2017.

       29.      A comparison of numerous provisions of the New Contract with the

corresponding provisions (if any) of the Prior Contract reveals that MetLife introduced the new



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contract early rather than wait until the expiration of the Prior Contract to try to create a façade

that the Health Consultants were independent contractors rather than employees.

       30.     The Prior Contract is simply labeled an “agreement”, while the New Contract is

titled an “independent contractor agreement.”

       31.     The Prior Contract does not expressly address whether consultants are employees

or independent contractors. By contrast, paragraph 1 of the New Contract begins, “Contractor

agrees that Contractor is an independent contractor.” It later states, “Contractor further

acknowledges and agrees that nothing in this Agreement is intended to or creates any

employment relationship between Contractor and MetLife, and that MetLife is not Contractor’s

employer.” Ex. C, ¶ 1.

       32.     As to compensation, the Prior Contract merely stated the rate at which consultants

would be paid; in Ms. McNeely’s case, $52.00 per hour. Ex. B, ¶ 1. The New Contract not only

states the hourly rate of pay, but states that the consultant will be compensated “upon submission

of an invoice for the Services actually performed,” that “MetLife will issue Contractor an IRS

Form 1099,” and that “Contractor shall be directly and solely responsible for all costs of self-

employment, including federal, state and local income tax payments for Contractor, including

charges or premiums for F.I.C.A., workers compensation and general liability insurance,

unemployment insurance and other taxes ….” Ex. C, ¶ 3, 3(b), 3(c). Neither the Prior Contract

nor the New Contract specifies how frequently consultants will be paid, such as weekly, bi-

weekly, or monthly.

       33.     The Prior Contract states that “MetLife will reimburse You for … reasonable

expenses, including [travel expenses and] telephone charges, incurred by You in the course and

scope of your duties under this Agreement.” Ex. B, ¶ 3. The New Contract differs: “Contractor



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is responsible for any business expenses incurred by him/her during the Service Period, except as

set forth herein or agreed upon by the Parties in writing, and is responsible for his /her own profit

or loss in connection with the Services rendered under this Agreement.” Ex. C, ¶ 3(a).

       34.     The Prior Contract does not address how many hours of work per week the

consultants may work. The New Contract states that “Contractor will set his/her own schedule

[and] hours … for performance of the Services rendered, subject only to the limits identified in

this Agreement and only to the extent that such limits are not inconsistent with Contractor’s

independent contractor status.” Ex. C, ¶ 1(a). It adds, “Contractor acknowledges that, during the

Service Period, Contractor may only be providing Services on a periodic or occasional basis (for

example, for an 8 or 9 week block during the Service Period). Contractor acknowledges and

agrees that MetLife does not guarantee that Contractor will be engaged to provide any Services

during the Service Period.” Id., ¶ 5.

       35.     The Prior Contract identifies the consultant’s “duties.” Ex. B, ¶ 2. The New

Contract contains a schedule of services that the Health Consultant “agrees to provide” to

MetLife. Ex. C, Schedule A. Consultants’ duties under the Prior contract and the services that

they agree to provide under the New Contract are similar. The Prior Contract lists: “a)

Reviewing dental claims and rendering your professional opinion; b) Providing advice and

counsel to the Claims Office staff; c) Communicating via telephone with submitting dentists to

explain and clarify dental claims; and, d) Training Dental Consultants, as may be required.” Ex.

B, ¶ 2. Each of these four duties appears in the schedule of services under the New Contract,

albeit with more language describing them, and a fifth service is added: “Assisting MetLife’s

Claims Office Staff and Special Investigation Unit with potential fraudulent dental claims

submissions and fraud investigations, including abuse and overutilization.” Ex. C, Schedule A.



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       36.     The Prior Contract does not address MetLife’s extent of control over the

consultants’ performance of their duties for the company. The New Contract, in contrast, states

that the consultant “shall not be subject to the direction, control or supervision of MetLife with

respect to the performance of his/her services hereunder. Contractor will have exclusive control

over the manner and means by which he/she performs the Services rendered.” Ex. C, ¶ 1(a). Of

course, MetLife’s statement that Contractors will have exclusive control over the manner and

means by which they perform services does not make it so.

       37.     The Prior Contract does not address which party will provide the supplies,

materials, or computer resources for the consultant to perform his or her duties to MetLife. But

the New Contract states that the consultant “will provide the supplies, materials or other items

needed to perform the Services pursuant to this Agreement, except as set forth herein or as

agreed upon in writing by MetLife.” Ex. C, ¶ 1(c). Again, the reality is different: MetLife still

provides at least some of the supplies, materials and other items that the contractors need to

perform their duties under the New Contract.

       38.     The Prior Contract specifies that “[w]hile engaged in the activities set forth in this

Agreement, you will not accept employment of any character hostile to the interests of MetLife

or otherwise engage in activities adverse to the interests of MetLife.…” Ex. B, ¶ 7. The New

Contract purports to give consultants more freedom: “Subject only to the limit on not engaging

in competing endeavors as noted below, Contractor is free to perform services for any other

individuals or entities of Contractor’s choice during the Service Period, and there is no

expectation that services provided to MetLife are exclusive ….” Ex. C, ¶ 1(d). However, the

reference in the initial proviso greatly reduces that purported freedom, as the agreement

elsewhere provides, “While providing the Services Contractor will not accept employment or



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enter into any other relationship of any character which is in conflict with, is directly competitive

with or which is hostile to the interests of MetLife or otherwise engage in activities adverse to

the interests of MetLife.” Id., ¶ 9.

C.     MetLife’s Practices Establish that Health Consultants Are Employees.

       1.      MetLife’s relationships with Health Consultants and close supervision of
               their work are typical of employer-employee relationships.

       39.     As alleged above, MetLife’s Prior and New Contracts are one-year agreements.

They are not project-based.

       40.     There was little turnover in Dental Consultants in the ten years or more prior to

November 1, 2017. Very seldom did MetLife or a Dental Consultant refuse to sign the new

version of the Prior Contract before the beginning of a new year. As a result, MetLife has had

long, continuous relationships with most Dental Consultants. For example, Ms. McNeely

worked for MetLife as a consultant for about 15 years, from the fall of 2002 until the company

sought to impose the New Contract in November 2017.

       41.     Upon information and belief, MetLife had similar long, continuous relationships

with most other Health Consultants.

       42.     Until 2014 MetLife required most Dental Consultants to do all of their work at a

MetLife office, although there were exceptions, such as in Texas where MetLife did not have

any office for the small number of Dental Consulants there. As discussed below, MetLife for

several years has been in the process of issuing Dental Consultants laptop instead of desktop

computers. Before MetLife has issued a laptop to a Dental Consultant, that consultant has been

required to do all of his or her work for MetLife in its office. As late as October 2017,

approximately half of the Dental Consultants at MetLife’s office in Aurora, Illinois, where Ms.

McNeely and the majority of the Dental Consultants were assigned, had not been issued laptops


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and thus were required to work exclusively in the MetLife office. Moreover, through October

2017 MetLife required most Dental Consultants who had received laptop computers to come into

the office at least one day every week to perform their duties, except when family or other

circumstances dictated an exception. .

       43.     MetLife has dictated the maximum number of hours Dental Consultants could

work in a day. It has changed that maximum figure from time to time.

       44.     MetLife has required Dental Consultants to designate their “regular” schedule, the

days of the week and hours in which they typically worked. Until 2017, MetLife also required

Dental Consultants to sign up in advance in order to work weekends or any days or hours outside

of their regular schedule. Dental Consultants have not been allowed simply to log on and work

from home or show up at the office.

       45.     Until recently, MetLife also required that, once Dental Consultants began work,

they work at least four continuous hours. It did not permit Dental Consultants, for example, to

work one or two hours, leave work to perform an errand, and then resume work.

       46.     Until late 2016, MetLife required Dental Consultants to sign in and sign out on a

time sheet on the days when they worked at MetLife’s office. It even instructed them to sign out

when they left the MetLife building and sign back in when they returned. When Dental

Consultants worked from home, they had to email a MetLife secretary their hours at the end of

the day.

       47.     MetLife eliminated the time sheets on which Dental Consultants had to sign in

and sign out and the requirement that they send emails when they worked from home in late

2016 when MetLife switched to electronic timesheets. But, obviously, MetLife still required




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each consultant to record his/her time each day; the medium just switched from paper to

computer.

       48.     Neither technology nor other limitations has dictated that Dental Consultants

work at least one day a week at MetLife’s offices, work at least four continuous hours, or

establish a regular schedule. Rather, MetLife has mandated these office requirements for its own

convenience and control.

       49.     MetLife employees have supervised Dental Consultants at the office to ensure

that they do not engage in excessive socializing with other Dental Consultants. A MetLife

employee has been charged with sending admonitory emails to Dental Consultants deemed to be

spending excessive time away from their desks or having other consultants stopping by their

desk for excessive periods.

       50.     In addition to the Dental Consultants, MetLife personnel characterized as

employees work at MetLife’s offices. Consultants and employees have entered and exited

through the same doors and used the same common areas. In the Aurora, Illinois facility, these

common areas include the kitchen, cafeteria and bathrooms.

       51.     Upon information and belief, MetLife has exercised similar control over the work

locations, work hours, and work behavior of other Health Consultants.

       52.     Until November 2016, MetLife required Dental Consultants to submit time

records for the number of hours worked each month on a time sheet form prepared by MetLife

and disseminated to the consultants. Since then Dental Consultants still are expected to submit

to MetLife the number of hours worked for payment. They thus are paid based on hours worked

during a monthly time period basis rather than based on a fee for a specific project or

assignment.



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       53.     MetLife has compensated Dental Consultants through direct deposit payments

rather than through checks.

       54.     As alleged above, the Prior Contract provided for consultants to be reimbursed for

expenses, including travel expenses, incurred in performing duties for MetLife. The company in

fact reimbursed Dental Consultants for their expenses incurred in performing duties for MetLife

throughout the period that the Prior Contract was in effect upon submission of evidence of those

expenses, provided that they requested reimbursement on a MetLife-prepared form.

       55.     MetLife also has paid $200-300 per year per Dental Consultant for continuing

dental education.

       56.     Upon information and belief, MetLife had similar payment and expense

reimbursement arrangements with the other Health Consultants.

       57.     MetLife’s Prior and New Contracts, as alleged above, have prohibited Dental

Consultants from “accept[ing] employment of any character hostile to the interests of MetLife or

otherwise engag[ing] in activities adverse to the interests of MetLife.” The contracts do not

specify whether similar employment with a competitor would be hostile to MetLife’s interests,

but Ms. McNeely understood that employment for a competitor would be deemed hostile, and

believes that other Dental Consultants had the same understanding.

       2.      MetLife has provided the Health Consultants with the means to perform
               their duties, including the claims to review and the equipment, materials, and
               supplies with which to conduct that review.

       58.     Although the Prior and New Contracts list several job duties for Dental

Consultants, they have spent the bulk of their time throughout the past decade reviewing claims.

In performing claim reviews, these Dental Consultants review the clinical information submitted

by treating dentists and evaluate whether the services rendered, such as crowns, bridges, onlays,

implants, or periodontal treatments, were dentally necessary. The Dental Consultants may also
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recommend that an alternate, less expensive benefit be applied to a service. If MetLife adopts

the Dental Consultant’s recommendation that a less costly covered service other than the service

actually performed could have produced a professionally acceptable result to treat a dental

condition, MetLife pays benefits based only upon the less costly service.

       59.     Throughout this period, MetLife has provided Dental Consultants each day with

detailed daily assignments, including the claim forms that they evaluate. For many years, when

an assignment required multiple steps, MetLife often gave Dental Consultants the materials for

only the initial step or steps, and they needed to request the additional materials once they

finished the earlier steps in the review. MetLife began implementing a new system in March

2017 that was fully implemented by that summer under which assignments came in one

spreadsheet for all consultants. The spreadsheet typically has assignments alongside a

consultant’s name, and when a Dental Consultant finished one assignment, she then was

expected to begin work on the next assignment on the spreadsheet.

       60.     MetLife requires Dental Consultants to use its company issued equipment. From

2002 through 2013, Dental Consultants received a cubicle, desk, desktop computer, two

computer monitors, computer keyboard and mouse, and phone. In the Aurora office and upon

information and belief in the other offices as well, MetLife began in 2013 issuing Dental

Consultants laptops, computer bags, docking stations, two computer monitors, computer

keyboard and mouse, and phone. The computers and other equipment remain company property,

and must be returned when a Dental Consultant leaves MetLife’s employment.

       61.     The desktop and laptop computers that MetLife has issued to Dental Consultants

have contained MetLife installed software, which the consultants are required to use in

performing their job duties.



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       62.     MetLife employees have monitored and supervised Dental Consultants, often

many times a day, via emails and/or instant messaging to find out their progress on their

assignments.

       63.     MetLife has provided free technical support to Dental Consultants for the

company-issued equipment and software.

       64.     MetLife also has monitored and tracked Dental Consultants’ use of and activity

on the computers. MetLife has not blocked Dental Consultants from surfing the net or otherwise

using the computers for non-work purposes. However, MetLife has monitored their activity and

sent mass emails when surfing times increased beyond the company’s satisfaction and reminded

the Dental Consultants to limit their personal use of the computers.

       65.     In addition to company-issued equipment and software, MetLife has provided

Dental Consultants with supplies and materials to perform their duties, such as paper, pens and

sticky tabs.

       66.     Upon information and belief, MetLife has provided the means by which other

Health Consultants have performed their work as well. Upon information and belief, MetLife

has provided other Health Consultants the claim materials to evaluate, the computer software on

which those consultants perform and record their review, the computer hardware on which that

software operates, the technical support to maintain and update the hardware and software, and

other supplies and materials.

       3.      MetLife has controlled the manner in which the Health Consultants perform
               their duties.

       67.     MetLife has controlled the manner by which Dental Consultants have performed

their duties largely through the software that they must use and by obligating them to adhere to

MetLife’s policies and procedures. For Dental Consultants, this means complying with


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MetLife’s “Dental Consultant Guidelines” (“Guidelines”). MetLife has prepared and

disseminated the Guidelines to Dental Consultants for at least the last ten years, originally in

hard copy, but now available as a PDF on their computers.

        68.     Dental Consultants do not make independent professional decisions. Rather,

MetLife’s Guidelines instruct Dental Consultants on the general principles and practices to apply

in evaluating claims. For example, MetLife currently instructs Dental Consultants that if the

procedure used by a dentist and the supporting documentation for a claim do not qualify for

benefits, they must deny the claim even if an alternate procedure might have qualified for

benefits. (2017 Guidelines, at 10.) If instead a dentist submits “two or more treatment plans …

for benefit determination, the consultant will routinely recommend benefits for the less costly

plan.” (Id.) Similarly, “[b]enefits will be limited to the amount for the least expensive services

or supplies that are recognized as adequate by the dental profession.” (Id. at 15.)

        69.     As another example, the Guidelines inform Dental Consultants that they should

concern themselves only with the “necessity, appropriateness and accepted standards of care” for

a service. Other persons at MetLife afterwards determine whether the service is covered by the

plan. (Id. at 17.)

        70.     The Guidelines also lay out the general procedures Dental Consultants “must”

follow when a dentist asks the company to reconsider a benefit decision. (Id. at 18-20.)

        71.     In addition to general guidance, the Guidelines include information on specific

services, dental codes, forms, appeals, communication and much more. (Id. at 9.)

        72.     MetLife has required all new and current consultants to participate in company-

sponsored training to further their understanding of MetLife and, of course, control and direct




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how consultants perform their duties. This training has been administered both when Dental

Consultants are hired and periodically thereafter as MetLife deems necessary or appropriate.

       73.     Still another source of control for MetLife is its full-time employees assigned to

supervise and manage the Dental Consultants.

       74.     By these various means, and others, MetLife conveys to Dental Consultants the

standards that it imposes on them “concerning reporting, review quality and production

expectations.” Among these standards are expectations concerning the minimum number of

claims per hour Dental Consultants should process.  Currently MetLife’s expectation is that

Dental Consultants review approximately 20 claims per hour, and a MetLife supervisor sends a

warning email when a consultant falls below 15 claims per hour. MetLife has terminated Dental

Consultants for failure to meet expectations, especially during an initial probationary period.

Conversely, MetLife has awarded bonuses in the form of temporary increases in hourly rates

based on the number of claims that Dental Consultants as a group were able to process during

“crunch” (high-volume) times.

       75.     MetLife has evaluated the performance of Dental Consultants against its standards

through MetLife Quality Assurance. As one means of evaluation, once or twice a year MetLife

has required Dental Consultants to take quizzes on MetLife premises that are sample claims.

MetLife also has assigned individuals from its quality assurance team to review Dental

Consultants’ work and provide an assessment approximately twice a year.

       76.     Upon information and belief, other Health Consultants are subject to similar

controls. MetLife conveys its quality and quantity expectations to them through written

materials, training, and supervisors, and monitors to ensure that these Health Consultants meet

these expectations through a quality assurance process.



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       4.      MetLife does not require Health Professionals to identify themselves as
               independent contractors when they deal with medical providers or other
               third parties.

       77.     As part of their job duties, Dental Consultants frequently have to talk on the

telephone with dentists or their staffs to discuss or obtain information with which to evaluate

claims or to respond to questions from those people. Until November 2017, Dental Consultants

frequently identified themselves as “_____ from MetLife.” MetLife did not instruct them to

identify themselves in a manner that made clear that they were independent contractors. Since

November 2017, Dental Consultants are supposed to identify themselves as “_____ on behalf of

MetLife.”

       78.     MetLife also has issued company email addresses to Dental Consultants. These

email addresses are indistinguishable from the email addresses of employees, and provide no

basis for a dentist or other third party to understand that the Dental Consultant is classified as an

independent contractor.

       79.     On information and belief, MetLife has not made any effort to instruct other

Health Consultants to make clear that they are an independent business and not an employee of

MetLife.

       5.      Conclusion: The Health Consultants are employees, not independent
               contractors.

       80.     The facts alleged above establish that MetLife’s Prior Contract gave it the right to

control the means and manner by which Dental Consultants and other Health Consultants

performed their job duties, and to treat the Health Consultants as employees rather than

independent contractors. Until that contract was replaced as of November 1, 2017, MetLife used

that authority to exercise control over all aspects of the relationship between it and the

consultants, including the means and manner by which consultants performed their job duties.


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As a result, they were employees, not independent contractors, while working under the Prior

Contract.

D.       Health Consultants Have Not Been Exempt Under the FLSA and State Wage and
         Hour Laws Because MetLife Has Not Compensated Them on a Salary Basis and
         Because They Hare Not Engaged in the Practice of Medicine

         81.   Throughout the applicable time periods, MetLife has compensated Dental

Consultants and other Health Consultants each month by multiplying the number of hours

recorded as worked by the agreed hourly rate. Because the number of hours worked has not been

constant from month to month, Health Consultants have not been paid the same amount each

month.

         82.   MetLife has not compensated Dental Consultants and other Health Consultants

for days or parts of days in which they do not work, such as because those days are holidays or

the consultants are sick, injured, on vacation, or have a non-work appointment.

         83.   The varying amounts of pay per pay period and the failure to compensate Health

Consultants when they do not work mean that the consultants have not been paid on a salary

basis.

         84.   Dental Consultants, hygienists, chiropractors, and psychologists are not licensed

in the field of medicine and do not evaluate medical claims for MetLife.

         85.   Dental Consultants’ duties for MetLife are to evaluate claims for benefits

submitted to the company and not to practice dentistry. They assist MetLife in deciding whether

to pay none, some, or all of the cost of services provided by practicing dentists to policyholders

or to participants or beneficiaries in dental plans. Dental Consultants do not have patient-

provider relationships with any of the policyholders, participants or beneficiaries, do not

diagnose the patients’ dental needs for the purpose of providing services to those patients, and do

not assist or advise the dentist in providing services to the patient.
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        86.     Similarly, other Health Consultants’ duties for MetLife are to evaluate claims

submitted to MetLife and not to practice in the field in which they are licensed. They assist

MetLife in deciding whether to pay none, some, or all of the cost of services provided by

practicing health care providers to policyholders or to participants or beneficiaries in dental

plans. Health Consultants do not have patient-provider relationships with any of the

policyholders, participants or beneficiaries, do not diagnose the patients’ health needs for the

purpose of providing services to those patients, and do not assist or advise the health care

provider in providing services to the patient.

        87.     Because Health Consultants are not compensated on a salary basis, and because

they are not engaged in the practice of medicine while performing work for MetLife, they do not

qualify for any exemption from the requirements that employees receive extra compensation

when they work overtime, as required by the FLSA and the wage and hour laws of the State of

Illinois.

E.      MetLife Does Not Pay Health Consultants 50% More Than Their Regular Rates
        When They Work More than Forty Hours in a Week.

        88.     Some Dental Consultants frequently have worked more than forty hours in a

week; other Dental Consultants, including Ms. McNeely, periodically have done so. They have

reported to MetLife their total number of hours worked even though those hours exceeded forty.

As a result, MetLife knows that Dental Consultants have exceeded forty hours in a week. Upon

information and belief, MetLife is aware that other Health Consultants also at least sometimes

have worked in excess of forty hours in a week for the company.

        89.     Neither the Prior Contract nor the New Contract provides that Health

Professionals will be compensated at 1.5 times their regular rate for hours in excess of forty in a




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week or for any other increase in their hourly rates when they work in excess of forty hours in a

week.

        90.    In calculating Health Consultants’ compensation, MetLife has multiplied the

number of hours worked by the hourly rate set out in the Prior Contract or the New Contract,

without any upward adjustment for time worked in excess of forty hours in a week.

        91.    By not compensating Health Consultants at 1.5 times their regular rate for hours

in excess of forty in a week, MetLife has violated the FLSA and the wage and hour laws of the

States in which the Health Consultants have been employed.

        92.    MetLife has not had a reasonable basis for believing that Health Consultants

legally were independent contractors or that they were exempt employees under the FLSA or

state wage and hour laws.

        93.    MetLife has not acted in good faith in failing to pay Health Consultants 1.5 times

their hourly rate for time worked in excess of forty hours in a week, partly because, upon

information and belief, it has not made a good faith effort to determine whether the FLSA

applied to Health Consultants who worked more than forty hours in a week.

        94.    MetLife’s violation of the FLSA has been willful in that it acted recklessly in

failing to even consider, let alone make a reasonable effort to determine, whether Health

Consultants were common law employees and whether, if they were, they were non-exempt

under the FLSA.

F.      MetLife Pays Health Consultants Less Frequently than Once Every Two Weeks

        95.    For the past ten years or longer, MetLife has compensated Dental Consultants for

their work for it on a monthly basis. It has not paid them on or before an established date during




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the following month. Instead, it typically has paid them on a varying date within the first half of

the month after the work has been performed.

        96.    Upon information and belief, MetLife has likewise compensated other Health

Consultants on a monthly basis and on a varying date in the month after they have performed

work.

        97.    Because Health Consultants are non-exempt employees, MetLife has violated the

Wage Payment and Collection Act of the State of Illinois, which requires that non-exempt

employees be paid no less frequently than bi-weekly. It also has violated similar laws of the

States of New York and New Jersey.

G.      MetLife Has Denied Employee Benefits to Health Consultants

        98.    Throughout the past six years or longer, MetLife has offered a wide variety of

employee benefits to its employees. Its employees generally have been eligible to participate in:

a defined benefit pension plan called Metropolitan Life Retirement Plan for United States

Employees (the “Defined Benefit Plan”); an employee welfare plan called the MetLife Options

& Choices Plan (the “Primary Welfare Plan”) with numerous sub-plans that collectively provide

employees and certain former employees with medical, dental, prescription drug coverage,

group-term life insurance, short-term and long-term disability coverage, flexible spending

accounts, and work-life assistance coverage (employee assistance programs); and the Welfare

Benefit Plan for Employees of Metropolitan Life (the “Secondary Welfare Plan”) which provides

eligible employees with life insurance, critical illness insurance, and legal insurance. These three

benefit plans are together referred to as the “Defendant Plans”. In addition, MetLife offers

eligible employees at least one other ERISA-covered plan, a defined contribution plan called the

Savings and Investment Plan for Employees of Metropolitan Life and Participating Affiliates



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(the “Defined Contribution Plan”). It is not included among the Defendant Plans because, as

discussed below, it expressly excludes Heath Consultants from its benefits even though they are

common law employees and not independent contractors. In addition, MetLife provides

employees with additional benefits not covered by employee benefit plans, such as paid

vacations and personal time off.

       99.     Although Health Consultants have been employees, MetLife, the administrator of

the Defendant Plans and other employee benefits, have not treated the Health Consultants as

eligible to participate in any of the benefits provided by the Defendant Plans, or in any other

benefits not provided under ERISA-covered plans, such as paid vacations and personal time off.

       100.    MetLife, as the administrator of the Defendant Plans, has not made available to

any of the Health Consultants copies of the plan documents and summary plan descriptions for

each of the plans. For example, Health Consultants cannot access those documents using the

computers that MetLife has issued to them. As a result, Health Consultants have not known

whether they would qualify for some or all of the benefits under the terms of those documents if

they were treated as employees. The knowledge that Ms. McNeely has acquired concerning the

Defendant Plans has been derived shortly prior to the filing of this Complaint from the annual tax

returns that MetLife is required by law to file for each of the plans.

       101.    Deloitte is the auditor for each of the Defendant Plans. Attached to the annual tax

returns for 2016 for the Defendant Plans are financial statements prepared by Deloitte that,

among other information, describe the principal provisions of the Defined Benefit Plan, the

Principal Welfare Plan, and the Defined Contribution Plan.

       102.    The 2016 tax return for the Defined Contribution Plan states that among persons

not eligible to participate in that plan are “Certain individuals performing services for the



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Participating Affiliates are not eligible, e.g., an individual classified by the Participating

Affiliates as a leased employee or independent contractor …” Based on that language, Plaintiff

does not at this time assert any claim based on MetLife’s refusal to allow her and other Health

Consultants to participate in the Defined Contribution Plan.

              103.           Deloitte’s description of the Defined Benefit Plan and the Principal Welfare Plan

does not mention a similar exclusion. This omission suggests that Health Consultants were

eligible to participate in those plans. In addition, MetLife has made available on the Internet a

form version of a dental plan that can be used by employers who offer MetLife’s dental benefits

to their employees. Under this form document, dental benefits are open to all full-time

employees, with the term “full time” meaning “at least 17.5 hours per week on the Employer's

regular work schedule” and the term “employees” not defined.2 This formulation would not

have excluded individuals classified by the employer as independent contractors.

              104.           Upon information and belief, all Health Consultants have been eligible to

participate in the Defendant Plans throughout this period as well as the employee benefits not

covered by ERISA, notwithstanding MetLife treating them as ineligible.

              105.           MetLife, as administrator of the Defendant Plans and other employee benefits,

has breached its duties of due care and of loyalty and its duty to act in accordance with plan

documents in failing to analyze and determine that the Health Consultants were indeed

employees and hence eligible to participate in some or all of these employee benefits.

              106.           MetLife, as administrator of the Defendant Plans and other employee benefits,

also has breached its duties of due care and of loyalty and its duty to act in accordance with plan

documents in failing to provide the Health Consultants with copies of or access to the plan


                                                            
2
              https://mybenefits.conexis.com/media/docs/Hewitt/81/METLIFE%20DENTAL%20SPD.pdf

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documents, summary plan descriptions, and other documents with respect to the Defendant Plans

that ERISA requires be provided to all employees eligible to participate in benefit plans.

        107.   The Health Consultants have been denied benefits that they were due under the

terms of the Defendant Plans and employee benefits not covered by ERISA.

H.      MetLife Did Not Pay the Employer Share of FICA Taxes

        108.   Under the Federal Insurance Contributions Act, employees and employers in the

United States must pay FICA taxes to the Internal Revenue Service, with the amount of such tax

based on the amount of the employee’s pay. The taxes are used to pay Social Security and

Medicare benefits. Each employer in the United States is obligated to (a) pay its portion of the

FICA taxes, and (b) withhold the employee portion of those taxes from employee paychecks and

pay them to the IRS.

        109.   Currently the total FICA tax is 15.3% of each employee’s gross pay. The

employer and employee each pays 7.65%. 6.2% of the 7.65% is attributable to Social Security,

and 1.45% is attributable to Medicare. The Medicare portion is uncapped, but any wages earned

above an annual cap is not subject to the Social Security portion. That cap was $127,200 in

2017.

        110.   Because MetLife has treated Health Consultants as independent contractors rather

than employees, it has reported their annual income to the IRS, and issued to the Health

Consultants, a 1099 instead of a W-2 form.

        111.   And because MetLife has treated Health Consultants as independent contractors,

it has neither paid the employer portion of FICA taxes based on the consultants’ monthly pay nor

withheld the employee portion from the consultants’ monthly pay.




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        112.    Finally, because MetLife told Health Consultants that they were self-employed

independent contractors and issued them 1099 forms, the Health Consultants believed that they

had to pay, and did pay, the combined employer and employee amount, that is, 12.4% up to the

Social Security cap and 2.9% in Medicare tax – the entire 15.3%.

        113.    As a result, Health Consultants were injured and MetLife unjustly enriched itself

by shifting an amount equal to 7.65% of each Health Consultant’s pay (or a lesser percentage if a

Health Consultant’s total pay for the year exceeded the Social Security cap) onto the Health

Consultants.

                 V. CLASS AND COLLECTIVE ACTION ALLEGATIONS

        114.    Ms. McNeely brings five types of claims, as described in Section VI below. She

brings each of them on behalf of similarly situated Health Consultants. Because the statute or

common law under which the claim defines the persons who are similarly situated in different

ways, the class or collective action corresponding to each type of claim is defined separately.

The chart below briefly summarizes the claims and the differences in the proposed classes and

identifies the section of this Complaint that discusses the claim or propose class or collective

action in greater detail:




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                     Claim                                  Class or Collective Action
       Basis of Claim         Section of      National or     Liability     Opt-      Section of
                              Complaint         State          Period       In or     Complaint
                                                                             Out
    FLSA                         VI.A           National     2 or 3 years Opt-In          V.A
    ERISA                         VI.B          National     6 years        Opt-          V.B
                                                                            Out
    Illinois Minimum              VI.C           Illinois    3 years        Opt-          V.C
    Wage Law                                                                Out
    Illinois Wage                VI.D            Illinois    10 years       Opt-          V.D
    Payment and                                                             Out
    Collection Act
    Unjust Enrichment             VI.E           Illinois    5 years        Opt-          V.E
                                                                            Out


A.         Collective Action Pursuant to 29 U.S.C. § 216(b) to Pursue Claims for Violation of
           the FLSA

           115.   Ms. McNeely incorporates all of the allegations in the paragraphs above as if set

forth fully in this paragraph.

           116.   Ms. McNeely brings her claims for violation of the FLSA on behalf of herself and

any other person who (a) has worked for MetLife as a Health Consultant (b) in the United States

(c) at any time between three years prior to the date on which this Complaint is filed and October

31, 2017, and (d) files a timely signed Consent to Join before a deadline to be established by the

Court (“Collective Action Members”).

           117.   The Collective Action Members are similarly situated in that, among other

similarities:

           a.     MetLife employed the Collective Action Members under similar contracts which,

                  until November 2017, were consistent with them being employees rather than

                  independent contractors;



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    b.       MetLife compensated the Collective Action Members as “independent

             contractors”;

    c.       MetLife required the Collective Action Members to work at its offices either part

             or all of their working time;

    d.       MetLife supplied the claims that the Collective Action Members analyzed, the

             computers and software on which they worked, and other materials and supplies;

    e.       MetLife provided training as to how the Collective Action Members were

             supposed to perform their duties;

    f.       MetLife provided all Dental Consultants who are Collective Action Members

             with the Guidelines and all other Collective Action Members with similar

             guidance;

    g.       MetLife prevented Collective Action Members from performing similar claims

             work for other insurance companies;

    h.       MetLife reimbursed Collective Action Members for their expenses in performing

             their duties for the company;

    i.       MetLife calculated Collective Action Members’ pay each month by multiplying

             the number of hours worked by the Members’ hourly pay rate, and consequently,

             Members’ pay varied from month to month;

    j.       MetLife did not increase Collective Action Members’ pay rates by 50% for every

             hour that they worked over forty hours in a week;

    k.       Collective Action Members did not engage in the practice of medicine for

             MetLife but instead made recommendations as to payment of claims; and




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       l.       MetLife’s efforts, if any, to determine the appropriate compensation for the

                Collective Action Members under the FLSA were the same as to all Members.

B.     Class Action Pursuant to Fed. R. Civ. P. 23(b)(3) to Pursue Claims for Violation of
       ERISA, 29 U.S.C. § 1001 et seq.

       118.     Ms. McNeely incorporates all of the allegations in the paragraphs above as if set

forth fully in this paragraph.

       119.     Ms. McNeely bring her claims for violation of ERISA on behalf of herself and

any other person who (a) has worked for MetLife as a Health Consultant (b) in the United States

(c) at any time between six years prior to the date on which this Complaint is filed and October

31, 2017. To the extent that any of the applicable benefit plans limit benefits to employees who

worked a certain number of hours in a stated time period, the Class excludes persons who

worked fewer than the number of hours required to section the benefits provided under that plan

(the “ERISA Class”).

       120.     The ERISA Class has so many Members that joinder in this action would be

impracticable. As alleged above, there were at least 89, and possibly about 100, Dental

Consultants who worked for MetLife in the United States in late 2017. With turnover the

number of Dental Consultants alone probably exceeds 100. Upon information and belief, other

Health Consultants substantially increase the size of the proposed ERISA Class. Joinder would

be especially difficult because this action is brought in New York, and Dental Consultants

located in Illinois, Rhode Island, and Texas would have to travel several hundred miles to attend

proceedings. Ms. McNeely does not know the States in which other Health Consultants have

worked, but many of them undoubtedly also would have to travel long distances to attend

proceedings in the case.




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       121.     The claims of the ERISA Class raise numerous common issues, including but not

limited to:

       a.       Has MetLife had the right under the contracts with the ERISA Class Members to

                control the means and manner by which they performed their duties for MetLife

                to an extent that made them employees rather than independent contractors?

       b.       Has MetLife in fact controlled the means and manner by which ERISA Class

                Members performed their duties for MetLife and otherwise acted toward them in

                a manner that made them employees rather than independent contractors?

       c.       Were common law employees eligible to participate in the Defendant Plans and

                non-ERISA benefits even if they were treated as independent contractors by

                MetLife’s Human Resources department?

       d.       Did MetLife as administrator of the Defendant Plans exercise reasonable care in

                determining whether ERISA Class Members were common law employees and

                otherwise eligible to participate in the Defendant Plans?

       e.       Did MetLife as administrator of the Defendant Plans fail to determine that ERISA

                Class Members were common law employees and otherwise eligible to participate

                in the Defendant Plans because it considered its own interests rather than provide

                loyalty to the ERISA Class Members?

       f.       Would it have been futile for ERISA Class Members to seek benefits from

                MetLife, the administrator of the Defendant Plans?

       g.       Are ERISA Class Members entitled to injunctive relief directing MetLife as

                administrator of the Defendant Plans to treat them as eligible for benefits under

                the Plans pursuant to ERISA § 502(a)(3)?



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       h.       Are ERISA Class Members entitled to injunctive relief directing MetLife as

                administrator of the non-ERISA benefits to treat them as eligible for benefits

                under the common law?

       i.       Are ERISA Class Members entitled to other equitable relief in the form of money

                to compensate them for MetLife’s failure to treat them as eligible for employee

                benefits under the Plans pursuant to ERISA § 502(a)(3)?

       j.       Are ERISA Class Members entitled to monetary relief to compensate them for

                MetLife’s failure to treat them as eligible for non-ERISA employee benefits?

       k.       Are ERISA Class Members entitled to the value of unpaid benefits under the

                Plans pursuant to ERISA § 502(a)(1)(B)?

       122.     The claims of Ms. McNeely are typical of the other ERISA Class Members

because she and other Members signed the same form contracts, were subject to the same

controls of MetLife, had similar duties, were denied eligibility to participate in the Plans, were

not given copies of the Plans, and were protected by the same rights under ERISA.

       123.     Ms. McNeely is an adequate representative of the ERISA Class. She is a member

of the ERISA Class, does not have any conflicts with other class members, and has engaged

lawyers who are experienced in the litigation of employment class action lawsuits and in the

litigation of claims under ERISA.

       124.     The common issues, including but not limited to those identified above, will

predominate over any individualized issues in the litigation of these claims.

       125.     A class action would be superior to other available methods for fairly and

efficiently adjudicating the dispute. Ms. McNeely is unaware of any other litigation raising

similar claims against MetLife brought by individual ERISA Class Members. The claims are not



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sufficiently large monetarily to give individual ERISA Class Members an interest in controlling

the litigation of separate claims. The commonality of the issues makes it desirable to concentrate

the litigation in one forum. The claims do not raise any difficulties in managing this litigation

that do not exist in all class actions, and litigating the common issues once is more efficient than

litigating them multiple times and avoids the risk of inconsistent results.

C.     Class Action Pursuant to Fed. R. Civ. P. 23(b)(3) to Pursue Claims for Violation of
       Illinois Minimum Wage Law, 820 ILCS 105/1 et seq.

       126.    Ms. McNeely incorporates all of the allegations in the paragraphs above as if set

forth fully in this paragraph.

       127.    Ms. McNeely brings her claim for violation of the Illinois Minimum Wage Law

on behalf of herself and any other person who (a) has worked for MetLife as a Health Consultant

(b) in the State of Illinois, and (c) worked more than forty hours in a week at least once between

the three years prior to the date on which this Complaint is filed and October 31, 2017, according

to the consultant’s time records submitted to MetLife (the “Illinois Overtime Class”).

       128.    The Illinois Overtime Class has so many Members that joinder in this action

would be impracticable. As alleged above, there were about 55 Members who worked as Dental

Consultants for MetLife in the State of Illinois in late 2017. With turnover there are at least 60

Members of the proposed class who are Dental Consultants. Upon information and belief, other

Health Consultants substantially increase the size of the proposed Illinois Overtime Class.

Joinder would be especially difficult because this action is brought in New York, several

hundred miles away from Illinois.




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       129.    The claims of the Illinois Overtime Class raise numerous common issues,

including but not limited to:

       a.      Has MetLife had the right under the contracts with the Illinois Overtime Class

               Members to control the means and manner by which they performed their duties

               for MetLife to an extent that made them employees rather than independent

               contractors?

       b.      Has MetLife in fact controlled the means and manner by which Illinois Overtime

               Class Members performed their duties for MetLife and otherwise acted toward

               them in a manner that made them employees rather than independent contractors?

       c.      Has MetLife’s method of calculating the compensation of Illinois Overtime Class

               Members, multiplying the number of hours worked times an hourly rate, been

               inconsistent with Members being paid on a salary or fee basis?

       d.      Are Illinois Overtime Class Members non-exempt employees because they were

               not paid on a salaried basis?

       e.      Has MetLife failed to pay Overtime Class Members 50% more than their normal

               hourly rate when they worked more than 40 hours in a week?

       130.    The claim of Ms. McNeely is typical of the other Illinois Overtime Class

Members because she and other Members signed the same form contracts, were subject to the

same controls of MetLife, had similar duties, were not paid on a salaried or fee basis, and were

not paid 50% more than their normal rates for hours worked in excess of 40 in a week.

       131.    Ms. McNeely is an adequate representative of the Illinois Overtime Class. She is

a member of the Illinois Overtime Class, does not have any conflicts with other class members,




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and has engaged lawyers who are experienced in wage and hour law and in the litigation of

employment class action lawsuits.

       132.    The common issues, including but not limited to those identified above, will

predominate over any individualized issues in the litigation of this claim.

       133.    A class action would be superior to other available methods for fairly and

efficiently adjudicating the dispute. Ms. McNeely is unaware of any other litigation raising

similar claims against MetLife brought by individual Illinois Overtime Class Members. The

claims are not sufficiently large monetarily to give individual members an interest in controlling

the litigation of separate claims. The commonality of the issues makes it desirable to concentrate

the litigation in one forum. The claims do not raise any difficulties in managing this litigation

that do not exist in all class actions, and litigating the common issues once is more efficient than

litigating them multiple times and avoids the risk of inconsistent results.

D.     Class Action Pursuant to Fed. R. Civ. P. 23(b)(3) to Pursue Claims for Violation of
       Illinois Wage Payment and Collection Act (“IWPCA”), 820 ILCS 115/1 et seq.

       134.    Ms. McNeely incorporates all of the allegations in the paragraphs above as if set

forth fully in this paragraph.

       135.    Ms. McNeely brings her claims for violation of the IWPCA on behalf of herself

and any other person who (a) has worked for MetLife as a Health Consultant (b) in the State of

Illinois, (c) at any time between ten years prior to the date on which this Complaint is filed and

October 31, 2017 (the “Illinois Monthly Payment Class”).

       136.    The Illinois Monthly Payment Class has so many members that joinder in this

action would be impracticable. As alleged above, there are about 55 members who worked as

Dental Consultants for MetLife in the State of Illinois in late 2017. With turnover there are at

least 60 members of the proposed class who are Dental Consultants. Upon information and


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belief, other Health Consultants substantially increase the size of the proposed Illinois Monthly

Payment Class. Joinder would be especially difficult because this action is brought in New

York, several hundred miles away from Illinois.

       137.    The claims of the Illinois Monthly Payment Class raise numerous common issues,

including but not limited to:

       a.      Has MetLife had the right under the contracts with the Illinois Monthly Payment

               Class Members to control the means and manner by which they performed their

               duties for MetLife to an extent that made them employees rather than independent

               contractors?

       b.      Has MetLife in fact controlled the means and manner by which Illinois Month

               Payment Class Members performed their duties for MetLife and otherwise acted

               toward them in a manner that made them employees rather than independent

               contractors?

       c.      Has MetLife’s method of calculating the compensation of Illinois Month Payment

               Class Members, multiplying the number of hours worked times an hourly rate,

               inconsistent with paying them on a salary basis?

       d.      Did MetLife fail to pay Illinois Month Payment Class Members on a bi-weekly or

               more frequent basis?

       138.    The claims of Ms. McNeely are typical of the other Illinois Monthly Payment

Class Members because she and other Members signed the same form contracts, were subject to

the same controls of MetLife, had similar duties, were not paid on a salaried basis, and were not

paid bi-weekly or more frequently.




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       139.    Ms. McNeely is an adequate representative of the Illinois Monthly Payment

Class. She is a member of the class, does not have any conflicts with other class members, and

has engaged lawyers who are experienced in the litigation of employment class action lawsuits.

       140.    The common issues, including but not limited to those identified above, will

predominate over any individualized issues in the litigation of this claim.

       141.    A class action would be superior to other available methods for fairly and

efficiently adjudicating the dispute. Ms. McNeely is unaware of any other litigation raising

similar claims against MetLife brought by individual Illinois Monthly Payment Class Members.

The claims are not sufficiently large monetarily to give individual members an interest in

controlling the litigation of separate claims. The commonality of the issues makes it desirable to

concentrate the litigation in one forum. The claims do not raise any difficulties in managing this

litigation that do not exist in all class actions, and litigating the common issues once is more

efficient than litigating them multiple times and avoids the risk of inconsistent results.

D.     Class Action Pursuant to Fed. R. Civ. P. 23(b)(3) to Pursue Unjust Enrichment
       Claims

       142.    Ms. McNeely incorporates all of the allegations in the paragraphs above as if set

forth fully in this paragraph.

       143.    Ms. McNeely brings her unjust enrichment claims on behalf of herself and any

other person who (a) has worked for MetLife as a Health Consultant (b) in the State of Illinois,

(c) at any time between five years prior to the date on which this Complaint is filed and October

31, 2017 (the “Illinois Unjust Enrichment Class”).

       144.    The Illinois Unjust Enrichment Class has so many members that joinder in this

action would be impracticable. As alleged above, there were about 55 members who worked as

Dental Consultants for MetLife in the State of Illinois in late 2017. With turnover there are at


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least 60 members of the proposed class who are Dental Consultants. Upon information and

belief, other Health Consultants substantially increase the size of the proposed Illinois Unjust

Enrichment Class. Joinder would be especially difficult because this action is brought in New

York, several hundred miles away from Illinois.

       145.    The claims of the Illinois Unjust Enrichment Class raise numerous common

issues, including but not limited to:

       a.      Has MetLife had the right under the contracts with the Illinois Unjust Enrichment

               Class Members to control the means and manner by which they performed their

               duties for MetLife to an extent that made them employees rather than independent

               contractors?

       b.      Has MetLife in fact controlled the means and manner by which Illinois Unjust

               Enrichment Class Members performed their duties for MetLife and otherwise

               acted toward them in a manner that made them employees rather than independent

               contractors?

       c.      Has MetLife’s failure to pay the employer’s share of FICA taxes and shifting of

               that burden to Illinois Unjust Enrichment Class Members enriched MetLife in the

               amount of the taxes in a manner that is unjust under applicable law?

       146.    The claims of Ms. McNeely are typical of the other Illinois Unjust Enrichment

Class Members because she and other Members signed the same form contracts, were subject to

the same controls of MetLife, had similar duties, and paid the entirety of FICA taxes on their

income instead of having MetLife pay half of those taxes.




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       147.    Ms. McNeely is an adequate representative of the Illinois Unjust Enrichment

Class. She is a member of the class, does not have any conflicts with other class members, and

has engaged lawyers who are experienced in the litigation of employment class action lawsuits.

       148.    The common issues, including but not limited to those identified above, will

predominate over any individualized issues in the litigation of this claim.

       149.    A class action would be superior to other available methods for fairly and

efficiently adjudicating the dispute. Ms. McNeely is unaware of any other litigation raising

similar claims against MetLife brought by individual Illinois Unjust Enrichment Class Members.

The claims are not sufficiently large monetarily to give individual members an interest in

controlling the litigation of separate claims. The commonality of the issues makes it desirable to

concentrate the litigation in one forum. The claims do not raise any difficulties in managing this

litigation that do not exist in all class actions, and litigating the common issues once is more

efficient than litigating them multiple times and avoids the risk of inconsistent results.

                                          VI. COUNTS

A.     Count One: MetLife’s Violation of Rights of Ms. McNeely and Members of the
       Collective Action Under the FLSA

       150.    Ms. McNeely incorporates all of the allegations in the paragraphs above as if set

forth fully in this paragraph.

       151.    The contracts under which Ms. McNeely and other Collective Action Members

worked until November 1, 2017 were consistent with their being employees of MetLife. Until

November 1, 2017, MetLife also controlled the means and manner by which Members perform

their job duties. This control, and MetLife’s other behavior toward Members set forth in the

Complaint, makes Ms. McNeely and other Collective Action Members employees rather than

independent contractors.


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       152.    The Collective Action Members are non-exempt employees under the FLSA.

Except in limited circumstances not applicable here, employees cannot be exempt under either

the professional or administrative exemption unless they are compensated on a salary basis.

Under both the Prior Contract and the New Contract, MetLife has compensated Members by

multiplying the number of hours worked each month by an hourly rate specified in those

contracts. Consequently, the Members’ compensation has varied from month to month with the

number of hours worked. When Collective Action Members have worked fewer hours because

of vacations, holidays, sickness, or other reasons, they have not been compensated for those

unworked hours. Collective Action Members have been non-exempt employees.

       153.    MetLife has compensated Collective Action Members at only their regular pay

rate, not at 1.5 times their regular pay rate, for time worked in excess of forty hours in a week.

The failure to pay non-exempt employees overtime pay when they work in excess of forty hours

in a week violates the FLSA.

       154.    MetLife’s violation of the FLSA damaged Ms. McNeely and Collective Action

Members in that they did not receive the overtime premium pay to which they were entitled

when they worked more than forty hours in a week.

       155.    MetLife’s violation of the FLSA was willful. Upon information and belief, it

recklessly failed to consider its obligations to Collective Action Members under the FLSA.

Accordingly, the limitations period for the FLSA claims is three years pursuant to 29 U.S.C. §

255.

       156.    MetLife has not had a reasonable basis for not paying Collective Action Members

1.5 times their regular pay rate for time worked in excess of forty hours in a week. Upon

information and belief, MetLife also has not made a good faith effort to determine its obligations



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under the FLSA to Collective Action Members. As a result, the Members are entitled to

liquidated damages under 29 U.S.C. § 260, along with attorneys’ fees, expenses, and costs.

B.     Count Two: Violation by MetLife as Employer and as the Administrator of the
       Defendant Plans of the Rights of Ms. McNeely and ERISA Class Members

       157.      Ms. McNeely incorporates all of the allegations in the paragraphs above as if set

forth fully in this paragraph.

       158.    The contracts under which Ms. McNeely and other ERISA Class Members

worked until November 1, 2017 were consistent with their being employees of MetLife. Until

November 1, 2017, MetLife also controlled the means and manner by which ERISA Class

Members performed their job duties. This control and MetLife’s other behavior makes the

Members employees rather than independent contractors.

       159.    MetLife has offered a generous package of employee benefits to ERISA Class

Members under the Defendant Plans as well as other benefits. MetLife, however, did not make

any of its employee benefits available to ERISA Class Members or provide them with any

information about the plans. The lack of information prevented Members from evaluating

whether they were eligible for those benefits.

       160.    Notwithstanding some uncertainty created by this lack of information, upon

information and belief all common law employees of MetLife (including ERISA Class

Members) have been eligible for some or all of MetLife’s employee benefits.

       161.    As the administrator of Defendant Plans, MetLife was a fiduciary of those plans.

Even if some of MetLife’s employee benefit plans are not governed by ERISA, MetLife’s

administration of those plans made it a fiduciary as a matter of common law.

       162.    ERISA § 401(a)(1)(B) requires MetLife, as the fiduciary of the Defendant Plans,

to act “with the care, skill, prudence, and diligence under the circumstances then prevailing that a


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prudent man acting in a like capacity and familiar with such matters would use in the conduct of

an enterprise of a like character and with like aims.” 29 U.S.C. § 1104(a)(1)(B). The common

law requires MetLife, as the fiduciary of any non-ERISA plans, to act with similar care.

       163.      For the past six years (and longer), MetLife did not act with the appropriate level

of care required of fiduciaries in treating ERISA Class Members as not eligible for benefits

under some or all of MetLife’s employee benefit plans and in not providing them with

information about the plans.

       164.      ERISA § 401(a)(1)(A) requires MetLife, as the fiduciary of the Defendant Plans,

to act “solely in the interest of the participants and beneficiaries and for the exclusive purpose of:

(i) providing benefits to participants and their beneficiaries; and (ii) defraying reasonable

expenses of administering the plan.” 29 U.S.C. § 1104(a)(1)(A). The common law requires

MetLife, as the fiduciary of any non-ERISA plans, to act with similar loyalty to participants and

beneficiaries.

       165.      In treating ERISA Class Members as not eligible for benefits under MetLife’s

employee benefit plans for the past six years or longer, MetLife has placed its own interests over

the interests of the ERISA Class Members in violation of its duty of loyalty to the Members.

       166.      Finally, ERISA § 401(a)(1)(D) requires MetLife, as the fiduciary of the

Defendant Plans, to act “in accordance with the documents and instruments governing the plan

insofar as such documents and instruments are consistent with” ERISA. 29 U.S.C. §

1104(a)(1)(D). The common law requires MetLife, as the fiduciary of any non-ERISA plans, to

act in accordance with the terms of the instrument creating the fiduciary relationship subject to

the other duties governing fiduciaries, such as the duties of reasonable care and loyalty.




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       167.    In treating Members as not eligible for benefits under MetLife’s employee benefit

plans for the past six years or longer, upon information and belief MetLife did not act in

accordance with the plan documents.

       168.    The violations of ERISA by MetLife over the past six years or longer have caused

harm to Ms. McNeely and ERISA Class Members in that they have not received the employee

benefits to which they were entitled.

       169.    ERISA § 502(a)(3) authorizes participants, including persons wrongly excluded

from participation in employee benefit plans, to bring an action “to enjoin any act or practice

which violates any provision of this subchapter or the terms of the plan, or (B) to obtain other

appropriate equitable relief (i) to redress such violations ….” 29 U.S.C. § 1132(a)(3). Thus, Ms.

McNeely may bring this action to obtain “other appropriate equitable relief” for the failure of

MetLife to treat them as eligible for those benefits in the past. The “other appropriate equitable

relief” includes but is not limited to an accounting of unpaid benefits to ERISA Class Members

followed by payment of the value of the benefits that the accounting determines to be unpaid.

       170.    MetLife has not treated ERISA Class Members as common law employees, and

wrongly denied them benefits under some or all of its employee benefit plans, for the past ten

years or longer. ERISA § 502(a)(1)(B) authorizes any participant, including any person wrongly

excluded from participation in an employee benefit plan, to bring an action “to recover benefits

due to him under the terms of his plan, to enforce his rights under the terms of the plan, or to

clarify his rights to future benefits under the terms of the plan.” 29 U.S.C. § 1132(a)(1)(B). As a

result, Ms. McNeely may bring this action under this subsection to obtain for herself and the

ERISA Class Members the value of the past unpaid benefits caused by the failure of MetLife to

treat them as eligible, along with attorneys’ fees, expenses, and costs.



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C.     Count Three: MetLife’s Violation of Rights of Ms. McNeely and Members of the
       Illinois Overtime Class Under the Illinois Minimum Wage Law (“IMWL”), 820
       ILCS 105/1 et seq.

       171.    Ms. McNeely incorporates all of the allegations in the paragraphs above,

including but not limited to the paragraphs with respect to Count One, as if set forth fully in this

paragraph.

       172.    For the same reasons that MetLife has violated the FLSA when it has failed to pay

Collective Action Members at the rate of 1.5 times their regular rate of pay when they work more

than 40 hours in a workweek, MetLife also has violated the IMWL, and in particular the

overtime provisions at 820 ILCS 105/4a, when it has failed to pay Illinois Overtime Class

Members at the rate of 1.5 times their regular rate of pay when they work more than 40 hours in

a workweek.

       173.    MetLife’s violation of the IMWL damaged Ms. McNeely and Illinois Overtime

Class Members in that they have not received the overtime premium pay to which they were

entitled for any week during the lliability period when they have worked more than forty hours in

that week.

       174.    As a result, Ms. McNeely and Illinois Overtime Class Members are entitled to the

amounts of the underpayment and 2% per month for each month for which the underpayment has

existed for the past three years or longer, along with attorneys’ fees, expenses, and costs.

D.     Count Four: MetLife’s Violation of Rights of Ms. McNeely and Members of the
       Illinois Monthly Payment Class Under the Illinois Wage Payment and Collection
       Act (“IWPCA”), 820 ILCS 115/1 et seq.

       175.    Ms. McNeely incorporates all of the allegations in the paragraphs above as if set

forth fully in this paragraph.

       176.    The contracts under which Ms. McNeely and other Illinois Monthly Payment

Class Members worked until November 1, 2017 were consistent with their being employees of

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MetLife. Until November 1, 2017, MetLife also controlled the means and manner by which

Members performed their job duties. This control, and MetLife’s other behavior toward Illinois

Monthly Payment Class Members set forth in the Complaint, makes the Members employees

rather than independent contractors.

       177.    The Illinois Monthly Payment Class Members are non-exempt employees under

the FLSA. Except in limited circumstances not applicable here, employees cannot be exempt

under either the professional or administrative exemption unless they are compensated on a

salary basis. Under both the Prior Contract and the New Contract, MetLife has compensated

Members by multiplying the number of hours worked each month by an hourly rate specified in

those contracts. Consequently, the Illinois Monthly Payment Class Members’ compensation

varies from month to month with the number of hours worked. When Members have worked

fewer hours because of vacations, holidays, sickness, or other reasons, MetLife has not

compensated them for the unworked hours.

       178.    MetLife has paid Illinois Monthly Payment Class Members once a month, and

even then, not on a regular day of the month. By paying Illinois Monthly Payment Class

Members, who are non-exempt employees, less frequently than once every two weeks, MetLife

has violated the 820 ILCS 115/3 of the IWPCA for the past ten years or longer. And by delaying

payment for more than 13 days after the end of the longest allowed pay period for non-exempt

employees, which is bi-weekly, MetLife has violated 820 ILCS 115/4 of the IWPCA for the past

ten years or longer.

       179.     MetLife’s violation of the IWPCA has damaged Ms. McNeely and Illinois

Monthly Payment Class Members in that they have not received timely pay for the past ten years




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or more. MetLife has had the use of the money they were owed each month, while the Illinois

Monthly Payment Class Members have been deprived of its use.

       180.    As a result, Ms. McNeely and Illinois Monthly Payment Class Members are

entitled to 2% of the amounts of the late payments each month for which the payments were

made in violation of the IWPCA, along with attorneys’ fees, expenses, and costs.

E.     Count Five: MetLife’s Unjust Enrichment by Shifting the Obligation to Pay the
       Employer Share of FICA to Members of the Illinois Unjust Enrichment Class

       181.    Ms. McNeely incorporates all of the allegations in the paragraphs above as if set

forth fully in this paragraph.

       182.    The contracts under which Ms. McNeely and other Illinois Unjust Enrichment

Class Members worked until November 1, 2017 were consistent with their being employees of

MetLife. Until November 1, 2017, MetLife also controlled the means and manner by which

Members have performed their job duties. This control, and MetLife’s other behavior toward

Illinois Unjust Enrichment Class Members set forth in the Complaint, makes the class members

employees rather than independent contractors.

       183.    Notwithstanding that the Illinois Unjust Enrichment Class Members were

employees under the common law, MetLife compensated them as independent contractors,

informed them that they were indeed independent contractors, and reported their income to the

IRS on 1099 forms.

       184.    As a result of these actions by MetLife, Illinois Unjust Enrichment Class

Members, including Ms. McNeely, paid an amount equal to the employer share of FICA taxes

that MetLife actually owed. The payment by Ms. McNeely and other Class Members of

MetLife’s debt to the IRS resulted in a benefit to MetLife.




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       185.    MetLife intended to induce Ms. McNeely and other Illinois Unjust Enrichment

Class Members to pay the IRS the equivalent of the employer share of FICA taxes. Indeed, the

New Contract expressly states, “Contractor shall be directly and solely responsible for all costs

of self-employment, including … charges or premiums for F.I.C.A.”

       186.    MetLife understood from the lack of any inquiries from the IRS about the

payment of the employer share of FICA taxes that Illinois Unjust Enrichment Class Members

had done as MetLife intended by paying self-employment taxes equivalent to the amount

MetLife owed the IRS for the employer share of FICA taxes.

       187.    MetLife’s retention of the benefit that it induced Illinois Unjust Enrichment Class

Members to confer on it by paying the equivalent of the employer share of FICA taxes violates

fundamental principles of justice, equity, and good conscience.

                                 VII. PRAYER FOR RELIEF

       WHEREFORE, Ms. McNeely requests that this Court enter a judgment against MetLife

and in favor of Ms. McNeely and the Members and award the following relief:

       A.      Conditionally certifying the collective action identified in Section V.A above

               pursuant to 29 U.S.C. § 216(b) to litigate its members’ FLSA claims, followed by

               sending of Court-approved notice of their right to opt in to all of those members,

               and thereafter denying any motion to decertify the collective action that MetLife

               may file;

       B.      Certifying the classes identified in Sections V.B-E above pursuant to Fed. R. Civ.

               P. 23(b)(3) or (c)(4) to litigate the claims identified in Sections VI.B-E above;




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    C.   Declaring Plaintiff Carol McNeely to be the representatives of the collective

         action identified in Section V.A above and the representative of each of the

         proposed classes identified in Sections V.B-E above;

    D.   Declaring Plaintiff’s counsel to be the counsel for the collective action and each

         of the proposed classes;

    E.   Declaring that the limitations period for the FLSA claim will be three years

         pursuant to 29 U.S.C. § 255 and awarding Ms. McNeely and other Collective

         Action Members the amount of overtime pay that MetLife did not pay to them,

         liquidated damages in an equal amount, attorneys’ fees, expenses, and costs;

    F.   Ordering an accounting of the employee benefits that ERISA Class Members

         should have but have not received and, after that accounting is completed,

         directing that the benefits or the benefit values that Ms. McNeely and other

         ERISA Class Members should have but have not received be paid or given to the

         ERISA Class Members or credited to accounts to be established for them, along

         with attorneys’ fees, expenses, and costs;

    G.   If relief is awarded to the ERISA Class under ERISA § 502(a)(1)(B) instead of

         502(a)(3), ordering that MetLife and/or its benefit plans pay or give ERISA Class

         Members the value of the employee benefits that the ERISA Class Members

         should have but have not received or credit such amounts to accounts to be

         established for them, along with attorneys’ fees, expenses, and costs;

    H.   Awarding Illinois Overtime Class Members the amount of overtime pay that

         MetLife did not pay to them, an amount equal to the total of the amount of unpaid

         overtime each month times .02 times the number of months between when each



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                 amount should have been paid and actually was paid, attorneys’ fees, expenses,

                 and costs;

        I.       Awarding Illinois Monthly Payment Class Members an amount calculated by

                 multiplying each late payment by .02 and totaling the products, along with

                 attorneys’ fees, expenses, and costs;

        J.       Awarding Illinois Unjust Enrichment Class Members an amount equal to the

                 amount of FICA tax that they have paid that was owed by MetLife as the

                 employer share of FICA taxes;

        K.       Awarding pre- and post-judgment interest on any awards;

        L.       Granting Ms. McNeely and the members of the class and collective actions such

                 other, further and different relief as the nature of the case may require or as may

                 be determined to be just, equitable and proper by this Court.

                              VIII. DEMAND FOR A JURY TRIAL

        Ms. McNeely, on behalf of herself and the collective and class actions that she seeks to

represent, demands a jury trial on all issues triable as of right by a jury.


                                                Respectfully submitted,




                                                _________________________________

                                                STACEY GRAY PC
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                                                New York, NY 10165
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                                                Facsimile: (866) 224-6703
                                                sgray@staceygray.com



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                                MEHRI & SKALET PLLC

                                Cyrus Mehri (pro hac vice to be sought)
                                Steven A. Skalet (pro hac vice to be sought)
                                Michael D. Lieder (pro hac vice to be sought)
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          Exhibit C
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 Metropolitan Life Insurance Company



 5950 Airport Road Oriskany, NY 13424



 October 5, 2017

 Carol McNeely, DDS



 Re: INDEPENDENT CONTRACTOR AGREEMENT

 Dear Dr. McNeely:

 This Independent Contractor Agreement (“Agreement”) is entered into effective on the
 Start Date written below (the “Effective Date”) by and among the Metropolitan Life
 Insurance Company (“MetLife”) and the below-named contractor (the “Contractor”)
 (each, a “Party” and collectively, the “Parties”) and supersedes any previous
 communication regarding your relationship with MetLife. Subject to the terms and
 conditions of this Agreement, including Section 7 regarding Termination:

         Contractor Name: Carol McNeely, DDS
         Agreement Start Date: November 1, 2017
         Agreement End Date: October 31, 2018
         Role of Contractor: Dental Consultant

 MetLife desires to contract with Contractor to utilize Contractor’s skill, knowledge, and
 expertise to provide various Services as defined in this Agreement. Contractor desires to
 contract with MetLife, on a non-exclusive basis, to provide such Services.

 In consideration of the mutual promises set forth herein and other good and valuable
 consideration, the receipt and sufficiency of which are acknowledged, and intending to be
 legally bound, the Parties expressly agree to the terms and conditions contained in this
 Agreement.

 1.      Relationship. Contractor agrees that Contractor is an independent contractor.
         Contractor will provide Services as an independent contractor, and on a non-
         exclusive basis, as defined in Schedule A to this Agreement (which is included
         herein by reference), or as may be amended by the Parties in writing. Contractor
         agrees that the period of Contractor’s services to MetLife will be limited solely to
         the period from the Agreement Start Date to the Agreement End Date noted above
         (the “Service Period”) and that Contractor’s contracting relationship with MetLife
         will end at the conclusion of the Service Period unless terminated sooner under
         the terms of this Agreement. Nothing in this Agreement is intended to or creates

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         any relationship between Contractor and MetLife other than as an independent
         contractor to provide the Services during the Service Period. Contractor further
         acknowledges and agrees that nothing in this Agreement is intended to or creates
         any employment relationship between Contractor and MetLife, and that MetLife is
         not Contractor’s employer.

         a)       It is understood and agreed to between the Parties that, in rendering
                  services pursuant to this Agreement, Contractor is and shall act in the
                  capacity of an independent contractor and shall not be subject to the
                  direction, control or supervision of MetLife with respect to the
                  performance of his/her services hereunder. Contractor will have exclusive
                  control over the manner and means by which he/she performs the Services
                  rendered. Contractor will set his/her own schedule, hours, and location for
                  performance of the Services rendered, subject only to the limits identified
                  in this Agreement and only to the extent that such limits are not
                  inconsistent with Contractor’s independent contractor status.

         b)       Contractor shall not be considered or be deemed in any way to be an
                  employee of MetLife and Contractor has no right or power, express or
                  implied, to do any act or thing that would bind MetLife in any away.
                  Nothing herein shall create nor be deemed to create an employment
                  relationship between Contractor and MetLife.

         c)       Contractor will provide the supplies, materials or other items needed to
                  perform the Services pursuant to this Agreement, except as set forth herein
                  or as agreed upon in writing by MetLife.

         d)       Subject only to the limit on not engaging in competing endeavors as noted
                  below, Contractor is free to perform services for any other individuals or
                  entities of Contractor’s choice during the Service Period, and there is no
                  expectation that services provided to MetLife are exclusive or will
                  continue following the End Date set forth in this Agreement.

 2.      Qualifications. Contractor warrants and represents that Contractor, at all times
         during the term of this Agreement:

         a)       holds all the necessary licenses and certifications to practice as a dentist,
                  physician, psychologist or chiropractor in a jurisdiction in the United
                  States;

         b)       is board certified in Contractor’s practice area specialty;

         c)       maintains an up-to-date Curriculum Vitae; and




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         d)       shall provide documents sufficient to demonstrate compliance with
                  Sections (a) through (c) of this Section 2 upon MetLife’s request.

 3.      Compensation. For rendering the Services Contractor will be compensated at the
         rate of $46.80 per hour upon submission of an invoice for the Services actually
         performed.

         a)       Contractor is responsible for any business expenses incurred by him/her
                  during the Service Period, except as set forth herein or agreed upon by the
                  Parties in writing, and is responsible for his/her own profit or loss in
                  connection with the Services rendered under this Agreement.

         b)       MetLife will issue Contractor an IRS Form 1099 for payments made under
                  this Agreement.

         c)       Contractor shall be directly and solely responsible for all costs of self-
                  employment, including federal, state and local income tax payments for
                  Contractor, including charges or premiums for F.I.C.A., workers
                  compensation and general liability insurance, unemployment insurance
                  and other taxes (including penalties and interest), and any other insurance
                  MetLife may require in conjunction with Contractor’s services performed
                  under this Agreement. Contractor agrees to remit to all applicable tax
                  authorities all monies which need to be withheld or otherwise paid.
                  Contractor agrees to indemnify and hold MetLife harmless with respect to
                  any and all such taxes, penalties, premiums, or other liabilities or
                  obligations that may arise relating to services provided by him/her or
                  payments made to him/her pursuant to this Agreement. Contractor also
                  shall be directly responsible for submitting all tax returns and reports
                  required by any governmental body.


 4.      Statement of Work. Contractor agrees to provide the Services as defined in the
         attached Schedule A.

 5.      Timing. The Parties further agree that the timetables for any and all deliverables
         will be mutually agreed to by the Parties and will end no later than the Agreement
         End Date. Contractor acknowledges that, during the Service Period, Contractor
         may only be providing Services on a periodic or occasional basis (for example, for
         an 8 or 9 week block during the Service Period). Contractor acknowledges and
         agrees that MetLife does not guarantee that Contractor will be engaged to provide
         any Services during the Service Period.

 6.      Time Between Projects is Not Work Time for Any Purposes. Any time during
         the Service Period during which Contractor does not perform Services pursuant to
         this Agreement shall not be considered work time or hours of work for any

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         purposes. Contractor acknowledges that during such period(s) in which he/she is
         not providing any Services Contractor is also not on call, is not working or
         providing any services to MetLife, and is not entitled to any compensation or
         benefits of any kind.

 7.      Termination.

         a)       This Agreement may be terminated by either Contractor or MetLife upon
                  thirty days prior written notice.

         b)       This Agreement will terminate on October 31, 2018 unless terminated
                  earlier by written notice as provided in this Section 8(a) of this Agreement
                  Thereafter, the Agreement will renew automatically for one (1) year unless
                  MetLife delivers to Contractor notice of its intent not to renew prior to
                  expiration of the term.

         c)       MetLife may terminate this Agreement immediately without prior written
                  notice if Contractor: (1) breaches any provision of this Agreement; or (2)
                  engages in conduct, which in the judgment of MetLife, is injurious to
                  MetLife.

 8.      Confidential Information and Trade Secrets.

         a)       Contractor understands that, by the nature of the position as a Dental
                  Consultant, Contractor will become familiar with the nature and/or content
                  of MetLife’s trade secrets, proprietary data or other confidential
                  information concerning MetLife’s business or operations, which
                  information became known or available to Contractor during the term of
                  this Agreement (“Confidential Information”). Contractor hereby expressly
                  agrees that Contractor will not divulge to any other person or entity or
                  make use of, either directly or indirectly, MetLife’s business secrets, its
                  special or general methods of doing business, the nature of its business, or
                  any other Confidential Information which Contractor has now or may later
                  acquire during the term of this Agreement. Upon the termination of this
                  Agreement, Contractor shall promptly return all Confidential Information
                  to MetLife, whether in written or electronic form, and Contractor shall not
                  retain any copies, extracts, or other reproductions thereof, in whole or in
                  part, of such Confidential Information in any form whatsoever.

         b)       Contractor recognizes that MetLife may suffer irreparable harm as the
                  result of the unauthorized disclosure, reproduction or use of any
                  Confidential Information and that monetary damages will be inadequate to
                  compensate MetLife for such breach. Therefore, Contractor agrees that in
                  the event of any failure to comply with the provisions of this Section,
                  MetLife shall be entitled to a preliminary injunction, and an order of

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                  seizure and impoundment under Section 503 of the Copyright Act upon an
                  ex-parte application by MetLife to protect and recover the Confidential
                  Information, and that Contractor shall not object to the entry of an
                  injunction or other equitable relief against Contractor on the basis of an
                  adequate remedy at law being available.

 9.      Other Employment. While providing the Services Contractor will not accept
         employment or enter into any other relationship of any character which is in
         conflict with, is directly competitive with or which is hostile to the interests of
         MetLife or otherwise engage in activities adverse to the interests of MetLife.

 10.     Proprietary Rights and Ownership of Records. Contractor agrees that all
         materials in any format (“Material”) which shall include documentation,
         communications, records, files, and memoranda made or kept or prepared by
         Contractor in any medium in connection with the Services rendered under this
         Agreement, whether completed or in the process of creation, shall be deemed to
         be work made for hire and made in the course of the Services rendered hereunder
         and shall belong exclusively to MetLife, and all Material will be returned to
         MetLife upon termination of this Agreement. If any of the Material does not
         qualify for treatment as works made for hire or if Contractor retains any interest in
         any of the Material for any other reason, including but not limited to any rights of
         attribution or other moral rights, Contractor agrees to grant, assign and transfer
         and hereby grants, assigns and transfers to MetLife exclusive ownership of all
         right, title, and interest, including all United States and international copyrights
         and all other intellectual property rights in the Material, and all of the rights of
         use, attribution, registration, renewal or moral rights with respect thereof, free and
         clear of any and all claims for royalties or other compensation. Contractor will
         promptly execute, acknowledge and deliver all applications, oaths, declarations
         and further documents, and will provide such additional assistance as MetLife or
         its counsel may deem necessary or desirable to evidence MetLife’s sole and
         exclusive title to such Material.

 11.     Indemnification and Cooperation.
         a)   MetLife agrees to indemnify and hold Contractor harmless for acts or
              omissions by reason of Contractor’s performance of Services for MetLife
              against expenses actually and reasonably incurred by Contractor if
              Contractor acted consistent with the terms of the MetLife Dental
              Consultant Guidelines and within the scope of the Services as defined in
              Schedule A.

         b)       Contractor agrees to indemnify and hold MetLife harmless for acts or
                  omissions by reason of Contractor’s performance of Services for MetLife
                  against expenses actually and reasonably incurred by MetLife from any
                  and all losses and expenses sustained by MetLife as a result of: (1) any
                  intentionally wrongful, fraudulent, reckless, negligent act or omission, or

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                  any unauthorized conduct by the Contractor; and (2) the unauthorized use
                  or disclosure by the information in accordance with this Agreement,
                  including Sections 9 and 13 of this Agreement. Notwithstanding the
                  foregoing, MetLife shall have no right to indemnification from Contractor
                  for any losses and expenses sustained by MetLife that are caused by the
                  wrongful act of MetLife.

         c)       During the term of this Agreement and at any time thereafter, Contractor
                  shall, at reasonable times and with due regard for Contractor’s other
                  obligations, cooperate with MetLife in any internal investigation, any
                  administrative, regulatory or judicial proceeding or any dispute with a
                  third party as reasonably requested by MetLife, including being available
                  upon reasonable notice for interviews and factual investigations, appearing
                  at MetLife’s request to give testimony without requiring the service of a
                  subpoena or other legal process, volunteering to MetLife all pertinent
                  information and turning over to MetLife all relevant documents which are
                  or may come into Contractor’s possession, at all times. If MetLife requires
                  Contractor’s cooperation in accordance with this Section, MetLife shall
                  reimburse Contractor for reasonable travel expenses, including lodging
                  and meals, upon submission of receipts.

 12.     Protected Health Information. Contractor agrees to execute and comply with
         the HIPAA Business Associate Agreement attached as Schedule B.

 13.     Publicity. Nothing contained in this Agreement shall be construed as conferring
         any right to use, or to refer to in any advertising, publicity, promotion, marketing
         or other activities, any name, trade name, trade or service mark, or any other
         designation of MetLife or any of its affiliated entities, including, but not limited
         to, any contraction, abbreviation or simulation thereof. Contractor agrees not to
         disclose to any third party that it has performed or contracted to perform Services
         hereunder for MetLife, or the terms or conditions of this Agreement, without the
         prior express written consent of MetLife. Contractor may disclose that it has
         performed Services for MetLife on a Curriculum Vitae, or in connection with any
         interview or application for a job opportunity without MetLife’s written consent.

 14.     Notices. Except as otherwise provided, any notice or correspondence required or
         permitted under the terms of this Agreement or required by law must be in writing
         and must be (a) delivered in person, (b) sent by first-class registered mail or air
         mail, as appropriate, (c) sent by overnight air courier, or (d) sent via email with
         delivery confirmation, in each case properly posted and fully prepaid, to the
         appropriate address stated below for Contractor and above for MetLife. Either
         party may change its address for notice by providing notice to the other party
         given in accordance with this paragraph. Notices will be considered to have been
         given at the time of actual delivery in person, five (5) business days after deposit
         in the mail as set forth above, or one (1) business day after delivery to an

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         overnight air courier service or sending via email.

 15.     Limitation of Remedies. Except to the extent required by law or as otherwise
         provided in this Agreement, Contractor agrees that MetLife shall not be liable for
         any lost profits, lost savings or other special, indirect or consequential damages
         suffered by Contractor, even if MetLife has been advised of or could have foreseen
         the possibility of such damages. The aggregate liability of MetLife under this
         Agreement for damages resulting from MetLife's actions shall not exceed the total
         fees owed by MetLife to the Contractor for services provided hereunder.
 16.     Miscellaneous.

         a)       Assignment. Contractor may not assign, sell or transfer this Agreement,
                  Contractor’s obligations under this Agreement or any interest under this
                  Agreement without the prior written consent of MetLife. MetLife may
                  assign all or any part of its right, title and interest in this Agreement in its
                  sole discretion.

         b)       Waiver. Failure to insist upon strict compliance with any of the terms,
                  covenants, or conditions of this Agreement shall not be deemed a waiver
                  of such terms, covenants, or conditions or any others, nor shall the waiver
                  or relinquishment of any right or power under this Agreement at any time
                  be deemed a waiver or relinquishment of such right or power or any others
                  at any other time.

         c)       Severability. The invalidity or unenforceability of any provision of this
                  Agreement shall in no way affect the validity or enforceability of any other
                  provision of this Agreement.

         d)       Applicable Law and Forum. This Agreement shall be governed by and
                  construed, and the legal relations between the parties shall be determined
                  in accordance with, the laws of the State of New York, without giving
                  effect to the principles of conflicts of laws. No suit or action arising under
                  or with respect to this Agreement shall be brought unless instituted and
                  maintained in any state or federal court of competent jurisdiction in New
                  York County, State of New York.

         e)       Survival. Contractor’s representations, warranties and obligations set
                  forth in Sections 8, 10, 12, 13, and 15 (d) shall survive the termination of
                  this Agreement and continue in full force and effect.

         f)       Entire Agreement and Amendments. This document constitutes the
                  entire Agreement between the Parties and all prior agreements, if any,
                  whether written or oral, are hereby rendered null, void, and of no effect.
                  The terms of this Agreement may only be waived, changed, modified, or
                  discharged by an agreement in writing signed by the Party against whom

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                  enforcement of any waiver, change, modification, or discharge is sought.
                  Provided that the amendment is not inconsistent with Contractor’s
                  independent contractor status, this Agreement may also be amended by
                  MetLife mailing to Contractor a written notice of amendment, signed by an
                  authorized representative of MetLife and specifically referring to this Section
                  16(f) . Any amendment pursuant to this paragraph shall take effect fifteen
                  (15) days after the date of the mailing of the notice of amendment.

         g)       Headings. The headings in each Section of the Agreement are for
                  convenience of reference only and shall be of no legal effect in the
                  interpretation of the Agreement.

 If the provisions set forth above are satisfactory to the Contractor, signify acceptance of
 the terms of this Agreement by dating, signing, and returning the signed original
 Agreement, and retaining a copy of the signed Agreement.

 Very truly yours,




        _______________________________10/5/2017_______________
 Michael Sirni                               Date
 Assistant Vice President
 MetLife

 AGREED AND ACCEPTED

 ____________________________________________________
 Contractor’s Signature                    Date

 Carol McNeely, DDS




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 Schedule A: Services and Statement of Work.

 1.      In the role of Dental Consultant, Contractor agrees to provide the following
         services (collectively, the “Services”) to MetLife:

         a)       Providing the clinical review of dental claims utilizing, but not limited to,
                  all submitted clinical documentation and correspondence while rendering
                  your professional opinion for consideration when MetLife makes a benefit
                  recommendation;

         b)       Providing clinical and processing advice and counsel to the Claims Office
                  staff for MetLife clinical policies, utilization management claim reviews,
                  claim appeals, claim and quality of care grievances, and insurance
                  department claim complaints;

         c)       Communicating via telephone with claim submitting treating dentists and
                  dental offices to explain and clarify MetLife dental claims benefit
                  recommendations;

         d)       Assisting MetLife’s Claims Office Staff and Special Investigation Unit
                  with potential fraudulent dental claim submissions and fraud
                  investigations, including abuse and overutilization; and

         e)       Training Dental Consultants, as may be required, assisting the Chief
                  Dental officer with establishing MetLife’s clinical policies including
                  identification of current dental standards of care parameters utilized in
                  dental necessity benefit recommendations for all MetLife utilization claim
                  management programs.

 2.      In seeking an opinion from Contractor, it is not MetLife’s request or intent that
         Contractor “practice medicine,” suggest treatment to a claimant’s own
         physician(s) or directly influence patient care in performing the Services for
         MetLife. MetLife and Contractor acknowledge that no physician-patient
         relationship is created with any claimant as a result of the provision of the
         Services. Contractor will not present or offer any information or advice to a



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         claimant’s health care provider, or a claimant, with the intention that it will impact
         or affect a claimant’s treatment.

 3.      Contractor acknowledges that he/she is available to render the Services in
         accordance with this Schedule and the Agreement. MetLife will determine in its
         sole discretion how many cases, if any, to refer to Contractor. Contractor will
         determine, in Contractor’s discretion, how many cases upon which to provide
         Services.

 4.      Contractor will provide MetLife with the specific Services set forth in this
         Schedule, and as may be amended by the Parties in writing. The Parties
         acknowledge and agree that Contractor’s services will be limited to those
         Services. If Contractor and MetLife agree that Contractor will provide additional
         Services during the Service Period other than as defined in this this Schedule, the
         Schedule shall be amended in writing to reflect such additional Services and the
         terms of the Agreement shall apply to any Services provided.




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                   HIPAA BUSINESS ASSOCIATE AGREEMENT


        This Business Associate Agreement (“BAA”) sets forth the agreement between
 the Metropolitan Life Insurance Company (“MetLife”) and Insert BA Name (“Business
 Associate”) (collectively, the “Parties”). Terms appearing with initial upper case letters
 have the respective meanings assigned to them in this introductory paragraph or in
 Section 1 of this BAA, as applicable.

                                         Background

        The administrative simplification provisions of the Health Insurance Portability
 and Accountability Act of 1996 (“HIPAA”), and related regulations, require that
 contracts between covered entities and entities known as business associates comply with
 enumerated standards and requirements.

        The purpose of this BAA is to satisfy the HIPAA standards and requirements.
 The Parties acknowledge and agree that in providing Services to or on behalf of the
 Covered Entity, Business Associate will create, receive, use, or disclose Protected Health
 Information. The Parties intend to enter into this BAA to address the requirements of
 HIPAA, HITECH, the Privacy Rule, and the Security Rule as they apply to “business
 associates,” including the establishment of permitted and required uses and disclosures
 (and appropriate limitations and conditions on such uses and disclosures) of Protected
 Health Information by Business Associate that is created or received in performing
 Services on behalf of Covered Entity.

      Now therefore, in consideration of the mutual promises below, MetLife and Insert
 BA Name agree to the following:

                                    1.      Definitions



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 1.01    General Definitions. All terms appearing in this BAA with initial upper case
         letters that are not otherwise defined in this BAA will have the same meaning as
         that provided for the respective terms in 45 C.F.R. §§ 160.103, 164.103, and
         164.501.

 1.02    Business Associate means Insert BA Name.

 1.03    Covered Entity means MetLife.

 1.04    Data Aggregation means, with respect to Protected Health Information the
         Business Associate creates or receives in its capacity as the Covered Entity’s
         Business Associate, the combining of Protected Health Information by the
         Business Associate with the Protected Health Information it receives in its
         capacity as business associate of another covered entity, to permit data analyses
         that relate to the health care operations of the respective entities.

 1.05    Designated Record Set means a group of records maintained by or for the
         Covered Entity within the meaning of 45 C.F.R. § 164.501 that consists of: (i) the
         enrollment, payment, claims adjudication, and case or medical management
         record systems maintained by or for a health plan; or (ii) records that are used, in
         whole or in part, by or for the Covered Entity to make decisions about individuals.
         For purposes of this section, the term “record” means any item, collection, or
         grouping of information that includes Protected Health Information and is
         maintained, collected, used, or disseminated by or for the Covered Entity.

 1.06    HIPAA means the Health Insurance Portability and Accountability Act of 1996,
         Pub. L. 104-191.

 1.07    HITECH means the Health Information Technology for Economic and Clinical
         Health Act, Pub. L. 111-5.

 1.08    Individual has the same meaning as the term “individual” in 45 C.F.R. § 160.103,
         and includes a person who qualifies as a personal representative in accordance
         with 45 C.F.R. § 164.502(g).

 1.09    Privacy Rule means the Standards for Privacy of Individually Identifiable Health
         Information at 45 C.F.R. Part 160 and Part 164, Subparts A and E.

 1.10    Protected Health Information means individually identifiable health
         information that is transmitted by electronic media (within the meaning of 45
         C.F.R. § 160.103, maintained in electronic media, or maintained or transmitted in
         any form or medium including, without limitation, all information (including
         demographic, medical, and financial information), data, documentation, and
         materials that are created or received by Business Associate from or on behalf of
         the Covered Entity in connection with the performance of Services, and related to:

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         a. The past, present, or future physical or mental health or condition of an
            individual;
         b. The provision of health care to an individual; or
         c. The past, present, or future payment for the provision of health care to an
            individual.

 1.11    Required By Law means the same as the term “required by law” in 45 C.F.R. §
         164.103.

 1.12    Secretary means the Secretary of the United States Department of Health and
         Human Services (“HHS”) or his designee.

 1.13    Security Breach or Breach means the acquisition, access, use, or disclosure of
         Protected Health Information inconsistent with those outlined in HIPAA which
         compromises the security or privacy of Protected Health Information, unless that
         acquisition, access, use, or disclosure is otherwise excluded under 45 C.F.R. §
         164.402. For this purpose, Protected Health Information is “compromised” to the
         extent that the action poses a significant risk of financial, reputational, or other
         harm to the individual.

 1.14    Security Incident means the attempted or successful unauthorized access, use,
         disclosure, modification, or destruction of information or interference with system
         operations in an information system as defined in 45 C.F.R. § 164.304.

 1.15    Security Rule means the Security Standards at 45 C.F.R. Part 160, Part 162, and
         Part 164.

 1.16    Services means the functions, activities, or services Business Associate will
         provide to the Covered Entity under the terms of this BAA.

                  2.     Business Associate’s Obligations and Activities

 2.01    Non-disclosure of Protected Health Information. Business associate agrees not
         to use or disclose Protected Health Information other than as permitted or required
         by this BAA or as Required By Law.

 2.02    Safeguards. Business Associate agrees to use appropriate safeguards to prevent
         use or disclosure of Protected Health Information other than as provided for by
         this BAA, the Privacy Rule or the Security Rule. Business Associate agrees to
         implement administrative, physical, and technical safeguards, along with policies
         and procedures that reasonably and appropriately protect the confidentiality,
         integrity, and availability of the electronic Protected Health Information that it
         creates, receives, maintains, or transmits on behalf of Covered Entity (“Covered
         Entity’s Protected Health Information”).

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 2.03    Mitigation. Business Associate agrees to mitigate, to the extent practicable, any
         harmful effects known to Business Associate about the use or disclosure of
         Protected Health Information by Business Associate in violation of the
         requirements of this BAA.

 2.04    Reporting of Violations. Subject to Section 2.05, Business Associate agrees to
         report to the Covered Entity any use or disclosure of Protected Health Information
         not provided for by this BAA within 30 days of disclosure or Business Associate’s
         knowledge of disclosure. Business Associate agrees to report to the Covered
         Entity any Security Incident of which Business Associate becomes aware.

 2.05    Breach of Protected Health Information. Following discovery of a Breach of
         Protected Health Information, the Business Associate is required to identify the
         individual(s) whose Protected Health Information has been acquired, accessed,
         used, or disclosed and to notify the Covered Entity without unreasonable delay,
         but no later than 5 days after discovery of the Breach. For purposes of this
         Section, a Breach is treated as discovered as of the first day on which such Breach
         is known to the Business Associate, or, by exercising reasonable diligence would
         have been known to the Business Associate consistent with 45 C.F.R. § 164.404.
         Upon discovering the Breach, the Business Associate is required to:
         a. Identify the entity to which the information was impermissibly disclosed;
         b. Determine, to the best of its knowledge based on the information of which it
             becomes aware during its investigation, whether or not the entity is subject to
             HIPAA and the Privacy Rule;
         c. Identify the type and amount of Protected Health Information disclosed;
         d. Determine whether the disclosure poses a significant risk of financial,
             reputational, or other harm to the individual; and
         e. If the improperly disclosed Protected Health Information is returned,
             determine if the information was returned before being accessed for an
             improper purpose.

 2.06    Notice of a Breach of Protected Health Information. In the event of a Security
         Breach, the Business Associate, with prior written approval of the Covered Entity,
         will notify the affected individuals without unreasonable delay, but no later than
         60 days after discovery of the Security Breach (“Notice Date”). The notice will
         include:
         a. a brief description of the incident;
         b. date the Security Breach occurred, if known or should have been known;
         c. date the Security Breach was discovered;
         d. type of Protected Health Information involved;
         e. steps individual should take to protect him/ herself from potential harm
             resulting from the Security Breach;
         f. brief description of steps Covered Entity has taken to investigate, mitigate
             losses, and protect against further Security Breaches; and

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          g. contact information for individuals to ask questions, including a toll-free
             number, e-mail address, website, or postal address.

          To the extent that the Security Breach involves more than 500 residents of a single
          state or jurisdiction, Business Associate must provide Covered Entity, no later
          than the Notice Date, the information necessary for Covered Entity to prepare a
          notice to media outlets as set forth in 45 C.F.R. § 164.406. To the extent that the
          Security Breach involves more than 500 individuals, Business Associate must
          provide Covered Entity, no later than the Notice Date, the information necessary
          for Covered Entity to prepare a notice to the Secretary as set forth in 45 C.F.R. §
          164.408. To the extent that the Security Breach involves more than 500
          individuals, Business Associate must maintain a log of those Security Breaches
          (“Security Breach log”) and provide that log to the Covered Entity for submission
          to HHS. The Security Breach log will be provided to Covered Entity annually,
          not later than 60 days after the end of the calendar year.

 2.07.    Audits. Business Associate will allow Covered Entity to audit Business
          Associate’s compliance with the Privacy Rule, Security Rule, and this BAA upon
          reasonable prior notice and in a reasonable manner. Covered Entity will
          reimburse Business Associate for its costs in cooperating with Covered Entity’s
          audits.

 2.08.    Agents and Contractors. Business Associate agrees to ensure that any Business
          Associate agent, including subcontractors, to whom it provides Covered Entity’s
          Protected Health Information agrees to substantially similar terms and conditions
          as those included in this BAA. Business Associate will also ensure that its agents
          or subcontractors to whom it provides Covered Entity’s Protected Health
          Information agree to implement reasonable and appropriate safeguards to protect
          electronic Protected Health Information. Business Associate agrees that it is not
          the agent of the Covered Entity.

 2.09.    Sanctions. Business Associate agrees to apply appropriate sanctions against any
          of its employees or agents with access to the Covered Entity’s Protected Health
          Information who fails to comply with the Covered Entity’s privacy policies and
          procedures.

 2.10.    Amendment of Protected Health Information. Business Associate agrees to
          make appropriate amendments to Protected Health Information in a Designated
          Record Set that either Covered Entity or an Individual requests pursuant to
          procedures established under 45 C.F.R. § 164.526. To the extent Business
          Associate receives a request by an Individual to amend his or her Protected Health
          Information, Business Associate will communicate its approval or denial by
          following mutually agreed upon procedures.




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 2.11.    Disclosure of Internal Practices, Books, and Records. Business Associate
          agrees to make internal practices, books, and records (including policies and
          procedures) about the use and disclosure of Covered Entity’s Protected Health
          Information available to the Covered Entity or, at the Covered Entity’s request, to
          the Secretary, in a time and manner mutually agreed to or designated by the
          Secretary, to determine the Covered Entity’s compliance with the Privacy Rule.

 2.12.    Access to Protected Health Information. Business Associate agrees to respond
          to Covered Entity’s or an Individual’s request to inspect or get a copy of Protected
          Health Information (as provided for in 45 C.F.R. § 164.524) in its possession or in
          a Designated Record Set within 30 days of receipt as long as complying with that
          request would not violate HIPAA or the Privacy Rule.

 2.13.    Documentation of Disclosures. Business Associate agrees to document
          disclosures of Protected Health Information and Information about disclosures as
          would be required for a Covered Entity to respond to a request by an Individual
          for an accounting of disclosures of Protected Health Information consistent with
          45 C.F.R. § 164.528. At a minimum, this documentation will include:
          a. Date of each disclosure;
          b. Name of the entity or person who received Protected Health Information and,
              if known, the address of the entity or person;
          c. Brief description of the Protected Health Information disclosed;
          d. Subject to section 2.14, the disclosures of Protected Health Information that
              occurred during the six-year period prior to the date of the request for an
              accounting, if any (or any shorter period of time requested by the individual),
              and that are otherwise subject to the accounting requirement in 45 C.F.R. §
              164.528; and
          e. Brief statement explaining to the Individual why the disclosure was made or,
              if applicable, instead of this statement, a copy of the Individual’s
              authorization, and a copy of the written disclosure request.

 2.14.    Accounting for Disclosures. Business Associate agrees to provide Covered
          Entity or an Individual information collected in accordance with section 2.13 in a
          time and manner mutually determined so as to enable Covered Entity to respond
          to a request by an Individual for an accounting of disclosures of Protected Health
          Information consistent with 45 C.F.R. § 164.528. To the extent that the Covered
          Entity uses or maintains an electronic health record concerning Protected Health
          Information, Business Associate will provide that accounting to the Individual (or,
          upon Covered Entity’s request, to the Covered Entity for delivery to the
          Individual) of the disclosures required for the three-year period immediately
          preceding the date on which the accounting is required. The accounting of
          disclosures through electronic health records will not be required earlier than the
          earliest applicable date established by the Secretary.




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 2.15.    Facilitate the Exercise of Privacy Rights. Business Associate agrees to
          establish procedures that allow individuals to exercise their rights under the
          Privacy Rule, including the right to:
          a. Inspect and obtain copies of records and documents within the possession or
              control of the Business Associate that contain the Individual’s Protected
              Health Information;
          b. Request amendments to their Protected Health Information;
          c. Receive an accounting of disclosures Business Associate made of their
              Protected Health Information
          d. Request restrictions on the use or disclosure of Protected Health Information;
              and
          e. Receive communications regarding Protected Health Information at alternative
              locations or by alternative means.

          Business Associate agrees to follow an Individual’s request to restrict the
          disclosure of their Protected Health Information, to the extent that those
          restrictions relate to disclosure to the Covered Entity for carrying out payment or
          health care operations (but not treatment), and the Protected Health Information is
          only about a health care item or service for which a health care provider was paid
          solely from the Individual’s own funds.

 2.16.    No Waiver of Rights. Business Associate agrees to not require Individuals to
          waive their health information privacy rights as a condition for treatment,
          payment, or enrollment in the Covered Entity, or eligibility for health benefits.

 2.17.    Responses to Subpoenas. If Business Associate receives a subpoena, discovery
          request or other lawful process, with or without an order from a court or
          administrative tribunal, arising out of or in connection with the Covered Entity or
          this BAA, including any use or disclosure of Protected Health Information or any
          failure in Business Associate’s health data security measures, Business Associate
          agrees to fully comply with the notice and protective action obligations set forth in
          45 C.F.R. § 164.512(e) in accordance with Business Associate’s standard policies
          and procedures regarding subpoenas, discovery requests, and other lawful process
          which will be communicated to the Covered Entity upon request.

 2.18.    Electronic Transactions. To the extent required by HIPAA (including the
          Standards for Electronic Transactions at 45 C.F.R. Parts 160 and 162), Business
          Associate agrees to use or conduct, in whole or in part, standard transactions and
          use code sets or identifiers under the Privacy Rule for or on behalf of Covered
          Entity as detailed under the Privacy Rule or HIPAA. Business Associate will also
          require any subcontractor or agent to comply with these electronic transaction
          requirements under HIPAA.

 2.19.    Security Standards. Business Associate acknowledges that it may need to issue
          and change procedures from time to time to improve electronic data and file

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          security, and agrees that those measures will be at least as stringent as may be
          required by the Privacy Rule or the Security Rule, as applicable.

 2.20.    Disclosures to Designated Plan Sponsor Representatives. MetLife will identify
          for Business Associate certain MetLife employees authorized to discuss Protected
          Health Information with Business Associate in connection with an Individual’s
          claim for benefits from the Covered Entity. If one of these MetLife employees
          contacts Business Associate to ask about an Individual’s claim for benefits,
          Business Associate will treat that inquiry as concerning “treatment, payment, or
          healthcare operations” within the meaning of the Privacy Rule, and provide the
          information permitted under the Privacy Rule.

 2.21.    Notice of Privacy Practices. Covered Entity will prepare and distribute a notice
          of privacy practices as required by the Privacy Rule. If Business Associate
          maintains a website on behalf of Covered Entity that provides information about
          the Covered Entity’s participant services or benefits, Business Associate will
          make the notice of privacy practices available electronically through the website,
          and will make certain that the notice of privacy practices is prominently posted on
          the website.

 3.       Business Associate’s Permitted Uses and Disclosures

 3.01.    General Uses and Disclosures. Business Associate agrees to create, receive, use,
          or disclose Protected Health Information only in a manner that is consistent with
          this BAA, the Privacy Rule, and the Security Rule, and only in connection with
          providing services to the Covered Entity. Covered Entity agrees to limit its
          Protected Health Information disclosures to the minimum necessary to accomplish
          the Services.

 3.02.    Use and Disclosure for Treatment, Payment, and Health Care Operations. In
          providing Services, Business Associate may use and disclose Protected Health
          Information for “treatment, payment, and health care operations” in accordance
          with the Privacy Rule, including using or disclosing Protected Health Information
          to:
          a. Investigate, pay, audit, and otherwise administer and facilitate the payment of
              health plan claims;
          b. Enroll or disenroll participants and beneficiaries in or confirm or deny
              participant and beneficiary eligibility for participation in the Covered Entity;
              and
          c. Coordinate the payment of benefits from the Covered Entity when a
              participant or beneficiary is enrolled in another health plan which provides
              similar benefits.




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 3.03.    Use and Disclosure for Public Health, Health Oversight, and Law
          Enforcement Purposes. In providing Services, Business Associate may use and
          disclose Protected Health Information in accordance with the Privacy Rule to:
          a. Provide needed information to government agencies engaged in public health,
              health oversight, or law enforcement, and as otherwise Required by Law; and
          b. Report violations of law to appropriate Federal and State authorities,
              consistent with 45 C.F.R. § 164.502(j)(1).

 3.04.    Use for Management and Administration of Business Associate. Business
          Associate may use Protected Health Information to carry out its legal
          responsibilities and for its proper management and administration. This use will
          conform to the uses and disclosures allowed by the Privacy Rule.

 3.05.    Disclosure for Management and Administration of Business Associate.
          Business Associate may disclose Protected Health Information for its proper
          management and administration as long as the disclosure is permitted by law.
          Business Associate may also disclose Protected Health Information with (1)
          Covered Entity’s prior written approval; and (2) reasonable assurances from the
          person to whom the information is to be disclosed that the:
          a. Information will remain confidential;
          b. Information will be used or further disclosed only as Required by Law or for
              the purpose for which it was disclosed to the person; and
          c. Person will notify the Business Associate if the confidentiality of the
              information is breached.

 3.06.    Use of Data Aggregation Services. Business Associate may use Protected
          Health Information to provide Data Aggregation services about the Covered
          Entity’s health care operations as permitted by 45 C.F.R. § 164.504(e)(2)(i)(B).

 3.07.    Prohibition on Sale of Electronic Health Records or Protected Health
          Information. Business Associate agrees not to directly or indirectly receive
          remuneration in exchange for any Protected Health Information of any Individual,
          unless Business Associate receives a valid authorization (within the meaning of
          45 C.F.R. § 164.508) that specifically allows for Protected Health Information to
          be further exchanged for remuneration from the entity receiving the Protected
          Health Information of that Individual.

 4.       Obligations of the Covered Entity

 4.01     Obligations to Notify Business Associate.

          a. Limitations in Notice of Privacy Practices. Covered Entity agrees to notify
             Business Associate of any limitations in the Covered Entity’s notice of privacy
             practices (provided in accordance with the requirements of 45 C.F.R. §


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              164.520) insofar as those limitations may affect Business Associate’s use or
              disclosure of Protected Health Information.

         b. Changes in Permission by Individual for Use of Disclosure. Covered
            Entity will notify Business Associate of any changes in or revocation of
            permission by an Individual to use or disclose Protected Health Information if
            and to the extent that those changes affect Business Associate’s use or
            disclosure of Protected Health Information.

         c. Agreements to Restrict Use or Disclosure. Covered Entity will notify
            Business Associate of any restrictions on the use or disclosure of Protected
            Health Information or any request for confidential communication that the
            Covered Entity has agreed to consistent with the requirements of 45 C.F.R. §
            164.522. The Covered Entity may also direct Individuals to make similar
            requests directly to the Business Associate to make the decision whether and
            to what extent that restriction or request may affect Business Associate’s use
            or disclosure of Protected Health Information.

 4.02    Permissible Requests by Covered Entity. Covered Entity will not request
         Business Associate to use or disclose Protected Health Information in a manner
         inconsistent with the Privacy Rule or Security Rule.

 5.      Term and Termination

        This BAA will terminate only when all of the Protected Health Information
 provided by the Covered Entity to the Business Associate or created or received by
 Business Associate on behalf of the Covered Entity is destroyed or returned to the
 Covered Entity. If it is infeasible to return or destroy Protected Health Information,
 appropriate protections will be extended to that information indefinitely.

 6.      Miscellaneous

 6.01    Amendments. The Parties agree to take the necessary action to amend this BAA
         from time to time to allow the Covered Entity to comply with changes to the
         requirements of the Privacy Rule, Security Rule, and HIPAA.

 6.02    Interpretation. Any ambiguity in this BAA will be resolved in favor of a
         meaning that permits the Covered Entity to comply with the Privacy Rule or the
         Security Rule, as applicable.

 6.03    Inconsistency. A court or regulatory agency with authority over the Parties will
         resolve any inconsistencies between the provisions of this BAA and the Privacy
         Rule or Security Rule, as may be amended from time to time, in favor of the
         Privacy Rule or Security Rule. The provisions of this BAA will control, however,


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         for any provisions in this BAA that are not the same as, but are nonetheless
         permitted by, the Privacy Rule or Security Rule.

 6.04    Amendment of Plan Documents. Plan Administrator represents that the Plan
         Sponsor has amended the Plan documents and signed a certification for the Plan
         in accordance with the Privacy Rule requirements at 45 C.F.R. § 164.504(f)
         relating to disclosure of Protected Health Information to the Plan Sponsor for
         certain Plan administration functions, and that Plan Sponsor will only use and
         disclose Protected Health Information with those Plan document provisions.




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 IN WITNESS WHEREOF, this BAA is executed by the parties, acting through their duly
 authorized representatives, as of the dates set forth, below.


 For: Metropolitan Life Insurance Company For: Carol McNeely, DDS




 By:                                     By:

 Name: Michael Sirni                     Name:

 Title: Assistant Vice President         Title:

 Date: 10/5/2017                         Date:




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